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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF MINNESOTA


Desmond Fielding,                       U.S. District Court File No.:_____________

            Plaintiff,

v.

Allina Health System,


            Defendant.


                            PLAINTIFF’S COMPLAINT FOR:

                                 Federal violations

            1)      Race Discrimination in Violation of 42 U.S.C. § 2000e, et seq.,
                    as amended
            2)      Color Discrimination in violation of 42 U.S.C. § 2000e, et seq.,
                    as amended
            3)      National Origin Discrimination in violation of 42 U.S.C. §
                    2000e, et seq., as amended

                            State of Minnesota Violations

            4)      Race Discrimination in violation of Minn. Stat. §363A.08, et
                    seq., as amended;
            5)      Color Discrimination in violation of Minn. Stat. §363A.08, et
                    seq., as amended;
            6)      National Origin Discrimination in violation of Minn. Stat.
                    §363A.08, et seq., as amended;
            7)      Wrongful interference with Economic Advantage




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                               NATURE OF THE CASE

      This is an action brought by Plaintiff Desmond Fielding, a United States

citizen and resident of the state of Minnesota (herein after “Fielding” or “Plaintiff”)

against Allina Health Systems, a non-profit domestic corporation.

                                    JURISDICTION

      1.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331,

[Federal Question]; statutory authority, 42 U.S.C. §2000e, et seq., as amended, and

28 U.S.C. §1367(a) [Supplemental Jurisdiction] of this Court. The matter in

controversy exceeds, exclusive of interest, $75,000.

      2.     The Court has jurisdiction over claims arising under Minnesota state

law pursuant to its pendent jurisdiction and 28 U.S.C. §1367(a). The claims arising

under Minnesota state law and the claims arising under federal law arise from the

same case or controversy, and they have a common nucleus of operative fact.

                                       VENUE

      3.     Venue in this Court is proper pursuant to 28 U.S.C. §1391(b)(1)-(2).

Fielding resides in the State of Minnesota. A substantial part of the wrongs alleged

herein were committed within Hennepin County, Minnesota, which is within the

District of Minnesota.

                              PERSONAL JURISDICTION

      4.     Defendant Allina is a non-profit domestic corporation doing business

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at 2925 Chicago Avenue Mail Route 10905, Minneapolis, MN 55407-1321. Allina

does business throughout Minnesota including Hennepin County and has a

registered office address of 2925 Chicago Avenue Mail Route 10905, Minneapolis,

MN 55407-1321. It does not currently have a registered agent.

                                    THE PARTIES

                                   PLAINTIFF
                                DESMOND FIELDING

      5.     Plaintiff Fielding, is a 65 year-old African American male who was

born in Jamaica, West Indies. He is a naturalized U.S. Citizen and a veteran of the

U.S. armed forces. Plaintiff worked for Defendant for approximately 13 years before

being wrongly terminated from his position with the Hospital.

                                    DEFENDANT

                                DEFENDANT ALLINA

      6.     Defendant Allina Health System, (hereinafter “Allina” or “Defendant”)

doing business at 2925 Chicago Avenue Mail Route 10905, Minneapolis, MN

55407-1321. Its Chief Executive Officer is Penny Wheeler, MD.

                               NATURE OF THE CASE

      7.     This is an action brought by Plaintiff Desmond Fielding, a United States

citizen and resident of the County of Anoka in the State of Minnesota (hereafter

“Fielding” or “Plaintiff”) against Allina (hereinafter “Defendant”).

                              PROCEDURAL POSTURE
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      8.    Plaintiff, Desmond Fielding, was wrongly terminated from his

employment with Defendant, Allina, Inc., on January , 2020. He timely filed a

Charge of Discrimination with the EEOC which was cross filed with the Minnesota

Human Rights Department. Later his race discrimination claim were assigned to the

Minneapolis Civil Right Commission. After six months, in March of 2021, Fielding

requested a Right to Sue Notice, which was subsequently provided by both the

EEOC and the Minneapolis Civil Rights Commission.

                             GENERAL ALLEGATIONS

                                 FEDERAL CLAIMS

      9.    Plaintiff brings this action for Race Discrimination pursuant to 42

U.S.C. §2000e, et seq., as amended.

      10.   Plaintiff brings this federal action for Color Discrimination pursuant to

42 U.S.C. §2000e, et seq., as amended.

      11.   Plaintiff brings this federal action for National Origin pursuant to 42

U.S.C. §2000e, et seq., as amended.

                                  STATE CLAIMS

      12.   Plaintiff brings a separate claim for Race discrimination in violation of

Minn. Stat. §363A.08, et seq., as amended.

      13.   Plaintiff brings a separate claim for Color discrimination in violation of

Minn. Stat. §363A.08, et seq., as amended.

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      14.    Plaintiff brings a separate claim for National Origin discrimination in

violation of Minn. Stat. §363A.08, et seq., as amended.

      15.    The Minnesota Human Rights Act (“MHRA”), Minn. Stat. § 363A.08,

Subd. 2. Employer. Except when based on a bona fide occupational qualification, it

is an unfair employment practice for an employer, because of race, color, creed,

religion, national origin, sex, status with regard to public assistance, familial status,

membership or activity in a local commission, disability, sexual orientation, or age

to:

      (1)    refuse to hire or to maintain a system of employment which

      unreasonably excludes a person seeking employment; or

      (2)    discharge an employee; or

      (3)    discriminate against a person with respect to hiring, tenure,

      compensation, terms, upgrading, conditions, facilities, or privileges of

      employment.

      16.    Plaintiff brings a separate action for wrongful interference with

economic advantage.

      17.    Allina is responsible for its owners, officers and supervisors under

respondeat superior.

                                         FACTS

      18.    Plaintiff Desmond Fielding is a male person that is 65 years of age and

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of African American descent, born in Jamaica, West Indies. He speaks with a

noticeable Caribbean accent that makes it apparent that he was not born in the United

States. He, however speaks excellent English and has had supervisory jobs including

as an officer in the U.S. Army and there has not been criticism of his communication

skills.

          19.   Plaintiff started to work for Allina in 2007 and continued to do so until

he was wrongfully terminated by it in 2020.

          20.   Mr. Fielding is an African American male born in Jamaica, West Indies

and speaks with a Caribbean accent. Plaintiff has worked for Allina for 11 years as

a Registered Nurse in a variety of nursing roles. Prior to his wrongful termination

he was working in the H5200 unit at Abbott Northwestern. Plaintiff has never

received a failing nursing performance review. His prior performance reviews

showed him to be in good standing while meeting the department standards.

          21.   According to Minnesota Nursing Board records he has never been

disciplined or held a suspended nursing license. Fielding is currently registered in

the State of Minnesota with a valid unencumbered RN license.

          22.   Desmond as an employee of Defendant has been subjected to racial

slurs, harassment, discrimination, and retaliation from managers, peers and patients,

which was condoned by Human Resources. He has been called names such as “big

black dude” and subjected to being treated unfavorably because he is of a certain

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race (African American) color (Black), and National Origin (Jamaica, West Indies).

Mr. Fielding, has experienced harassment from his nurse manager Ms. Deb Scott,

RN, assistant nurse manager Ms. Kate Haugen, RN, as well as from his colleagues,

which created a hostile and offensive work environment. This resulted in an adverse,

unjust employment decisions by Allina which included, but was not limited to not

investigating his reports of racial discrimination, allowing racial discrimination to

continue and which ultimately culminated in his wrongfully terminated.

      23.    The employment relationship between Plaintiff and Defendant Allina

requires a greater obligation by the employer hospital to refrain from inflicting

mental or emotional distress than would apply to a relationship between strangers.

Defendant had a discriminatory bias against Plaintiff.

      24.    While working for the Allina Hospital in 2019 and 2020 Desmond

Fielding experienced being the target of race, color, national origin discrimination

by his employer.

      25.    His supervisor repeatedly and continually discriminated against him

which was condoned by Defendant’s Human Resources.

      26.    An Allina supervisor intentionally set about a course to inflict mental

and emotional distress upon Plaintiff out of retaliation for his complaining of

discrimination. The movement by Defendant of reprisal caused damage to his career

as well as causing severe mental and emotional distress which intensified in 2019

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and 2020.

      27.    Defendant knew Plaintiff was a person of African descent who was

born in Jamaica, West Indies, who is of the black race and used it as a false device

to criticize him and make him miserable in the hope that he would quit.

      28.    Allina discriminated, harassed and retaliated against him for resisting

and reporting the forgoing discriminatory treatment against him.

      29.    Defendant Hospital intentionally and maliciously discriminated and

committed acts of reprisal against Plaintiff by doing damaging acts including making

him perform acts that would foreseeably harm him, including wrongfully

disciplining, abusing, insulting, overly scrutinizing, trying to set up for failure, and

engaging in acts calculated to cause Plaintiff pain and suffering, engaging in acts of

reprisal against his, threatening, penalizing, and ultimately terminating Plaintiff.

      30.    Plaintiff was discriminated against contrary to both Title VII of the

Civil Rights Act of 1964, et seq., as amended and the and Minnesota Human Rights

law. At all times relevant herein Fielding was qualified for his job position. Because

of an adverse employment actions which included changes to the terms, conditions

or privileges of employment; plaintiff was discharged in violation of both federal

and state anti-discrimination laws. At all times pertinent herein was qualified to do

the job for which Plaintiff was wrongfully terminated because of discrimination

based on Plaintiff’s Race (black), Color (black) and National Origin (Jamaica, west

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Indies).

      31.     The adverse action arose under facts giving rise to an inference of

discrimination.

      32.     Such facts include the fact that the employee was terminated in

violation of federal and state anti-discrimination laws.

      33.     Plaintiff was a member of a protected group of persons because of his

black race, his black color and his Jamaica, West Indies, national origin and

employed by Defendant Allina when the discriminatory treatment occurred by

Allina toward him. He was subjected to an adverse employment action as set forth

above.

      34.     While working for Allina Plaintiff repeatedly found it failed to give him

positions and/or promotions that were given to people who were not of the black

race, of black color and with a national origin of Jamaica, West Indies, even though

Plaintiff has been a naturalized U.S. citizen and a veteran of the U.S. armed forces.

      35.     The foregoing acts of Defendant caused Plaintiff physical pain, harm,

and injury in 2019 and 2020.

      36.     Defendant Allina from 2019 into 2020 discriminatorily violated its duty

by its abusive, discriminatory and insulting conduct in disregard of Plaintiff’s

interests. Defendant’s discriminatory and harassing behavior was known or should

have been known would cause emotional distress and was certain or substantially

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certain to result because of their discriminatory and retaliatory conduct.

      37.    Defendant Allina and its employees intentionally created an abusive,

discriminatory, hostile and law-breaking work environment for Plaintiff due to

Allina policy and practice of using discriminatory approaches to working with

Plaintiff as well as disregarding legal requirements. This repeated and continuous

intentional abuse of Plaintiff became highly outrageous in 2019 and 2020 and

included wrongfully disciplining, abusing, insulting, failing to promote, overly

scrutinizing, trying to set up for failure, and engaging in acts calculated to cause

Plaintiff pain and suffering, engaging in acts of reprisal against him, threatening,

penalizing, and ultimately terminating Plaintiff.

      38.    During the course of his employment from 2019 and 2020, Plaintiff was

subjected to discriminatory remarks and treatment. Allina followed an intentional,

severe, pervasive and continuous course of outrageous and unfair discriminatory

behavior directed toward severely harming Plaintiff.

      39.    The Defendant repeatedly abused the Plaintiff. It also allowed its

employees to intentionally discriminatorily assign Plaintiff tasks to set him up for

criticism and failure. His supervisor’s discriminatory false accusations about his

performance in 2019 into 2020 caused him to become anxious, have trouble

sleeping, feeling depressed, and severe mental and emotional distress in 2019 into

2020 and to present.

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           40.      Allina subjected Plaintiff to a discriminatory, unwholesome, hostile,

and abusive work environment where insults and related harassment were pervasive

and the law was violated by Allina. Plaintiff was made to feel as though he was a

misfit, incompetent, senile, and not economically viable.

                                             RACE AND CULTURE IN NURSING

           41.      Race is a barrier and source of inequality affecting ethnic minorities in

nursing practice and education. Research has shown that racism adds to and

significantly exacerbates the risk for health disparities among patients1 along with a

loss of opportunities in the nursing profession.

           42.      In 2002, a researcher C.P. Jones2 demanded that health care

professionals explicitly name race and racism in the discussion of the health and

well‐being of the U.S. population. Adding that initiatives aimed at addressing and

eliminating racial health disparities must explore the fundamental causes which are

rooted in racism (Jones, 2002).

           43.      The nursing sector should be concerned with issues such as racism.

Race, in particular, has been shown to cause inequality in nursing practice and

education (Beard & Julion, 2016).                          As global migration continues, both the

population and the nursing workforce in the United States become increasingly

diverse. In 2011, the Institute of Medicine called for an increase in the number of


1
    Peek, et al., Racism in Healthcare, Social Science in Medicine, 2010, 13, 17
2
    Jones, C.P., Confronting Institutionalized Racism,

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ethnic minority health professionals to better meet the current and future health care

needs of the U.S. population (Institute of Medicine, 2011).

      44.    The American Association of Colleges of Nursing (2019) asserted that,

although nurses should be able to communicate and provide culturally competent

care to all patients, providers who share similar characteristics as patients foster

better relationships. Despite intensive efforts toward the goal of increasing ethnic

minority nurses, engrained structural inequities remain. In fact, several studies have

shown that immigrant nurses and nurses of color in the United States continue to

experience acts of discrimination and racist comments from colleagues, and patients

and their families (Beard & Julion, 2016; Deacon, 2011; Iheduru‐Anderson, (2020a,

2020c); Iheduru‐Anderson & Wahi, 2018, Moceri, 2014; Primeau et al., 2014). In

some cases, immigrant nurses’ accents have been used as reasons for discrimination

in the workplace (Iheduru‐Anderson, 2020b). In addition, studies have shown that

nurses, nurse managers and nurse educators are not comfortable or feel ill‐equipped

to discuss race (Holland, 2015; Nairn et al., 2004, 2012).

      45.    Iheduru‐Anderson (2020a) reported that White nurses are often silent

when they witness racial comments directed at Black nurses, and to avoid conflicts,

Black nurses often fail to confront racist comments and behaviors. This lack of

action has been described by DiAngelo (2018) as “White solidarity.” Hassouneh and

Lutz (2013) called on nurses to challenge racist comments and behaviors, to help

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cultivate an inclusive and respectful work climate. Moceri (2014) asked health care

organizations to reduce bias in the workplace with conscious discussions of race and

racism, while Waite and Nardi (2019) urged nurses not to be deluded into thinking

that they are immune from racist and oppressive behaviors because of “our

profession, our code of ethics and academic institutions declaration of their resolute

beliefs of this ideology.” Wros et al. (2009) advocated for nurses to be culturally

sensitive not just with patients and families, but also with co‐workers.

      There were reports of isolation, loneliness, and inadequate support (Iheduru‐
      Anderson & Wahi, 2018; Robinson, 2014; Wheeler et al., 2013; Xu
      et al., 2008). Fear and distress from nurses of color's isolation undermined
      their confidence, often crippling their performance in the workplace. The
      following excerpt from Xu et al. (2008) demonstrates the experience of
      abject fear and loss of confidence: “I needed to check the order several times
      before I really gave the medication. That made me slower than other
      people… I felt kind of isolated; I felt uncomfortable. I was working in hell”
      (p. 39).

                                  FEDERAL CLAIMS

                              FIRST CAUSE OF ACTION

              AGAINST ALLINA FOR DISCRIMINATION BASED ON RACE
                IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS
              ACT OF 1964, 42 U.S.C. § 2000E, ET SEQ., AS AMENDED

      46.    The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      47.    Plaintiff was employed by Allina from on or about June 2007 until

Allina wrongfully pretextually terminated him on January 16, 2020.

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      48.    Plaintiff is an African American and seeks redress for discrimination

on account of his race in violation of laws the United States in his capacity as an

employee of Allina.

      49.    This claim is brought in and lies pursuant to Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et seq., as amended.

      50.    All conditions precedent to jurisdiction under Title VII, 42 U.S.C. §

2000e, et seq., as amended, have occurred or been complied with to it: a charge of

employment discrimination was filed with the equal employment opportunity

commission within 180 days of the commission of the unlawful employment

practice; notification of right to sue was received from the federal employment

opportunity commission on March 4, 2021 and this complaint has been filed within

90 days of receipt of the notification of right to sue.

      51.    Plaintiff Desmond Fielding is a African-American who is a naturalized

citizen of the United States and the state of Minnesota residing in the City of Coon

Rapids, in the County of Anoka and the State of Minnesota.

      52.    The unlawful employment practices, harassment discrimination and

retaliation alleged herein were committed within the state of Minnesota

      53.    Defendant Allina is a corporation and is authorized to do business in

and is doing business in the state of Minnesota

      54.    Defendant Allina is an employer engaged in an industry that affects

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commerce and employs more than 15 employees

       55.    Allina is a corporation is a “person” within the meaning of 42 U.S.C. §

2000e et seq., as amended.

       56.    While working for Allina Plaintiff experienced race discrimination,

harassment and retaliation.

       57.    After Plaintiff filed a complaint with the EEOC, subsequently Allina

further discriminated and retaliated against him including a discriminatory and

retaliatory firing.

       58.    The discrimination, harassment and retaliation were so traumatizing

that he tried to block out the horrible discriminatory treatment just to be able to cope.

       59.    The work environment at Allina where Plaintiff worked in had both

supervisors and co-workers who were discriminatory and used the discriminatory

and offensive word Nigger that is hereinafter referred elsewhere in this complaint as

the “N” word. These people include the following:

       60.    Deb Scott (Plaintiff’s Manager) and Kate Haugen (Plaintiff’s

Supervisor) have referred to Plaintiff on many occasions as “you blacks.” On the

day of his wrongful termination January 16, 2020, Ms. Haugen throughout the

meeting constantly referred to Plaintiff as the “big black dude” which was annotated

on his termination papers.

       61.    Plaintiff was sent to Human Resources many times with factious claims

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of his inadequate job performance (despite his positive work review), treatment of

patients, generalized comments which have clearly been taken out of context by

coworkers, and exaggerated write ups by management as a means to terminate him.

Mr. Fielding has been employed for Abbott Northwestern Hospital for 13 years, 7+

years have been on H5200 under the supervision of Deb Scott RN.

         62.    The “N” word was used by Brad Bjornson on so many occasions he

has lost count and when he did not use the “N” word, he resorted to “you blacks.”

He viewed and believed his derogatory statements directed to and/or in Plaintiff’s

presence were funny. His behavior worsened between the years 2019 and 2020. All

interactions were reported to Ms. Scott and Ms. Haugen.

         63.    Plaintiff was ignored by Ms. Scott and Ms. Haugen every time he

reported Brad Bjornson’s bigotry and racially discriminatory statements. They

would either walk-away when Plaintiff approached them about this or they would

respond by saying “You know Brad, he is only joking.” Plaintiff was speaking with

about 3-4 Nursing Assistants and he believes another Nurse in the hallway when

Brad approached us and asked, “What are you niggers doing in the hallway, you

guys must be with the Bloods or the Crips.”3 Plaintiff reported the incident to Ms.

Scott, but nothing was done. As Brad’s bigoted behavior continued, Plaintiff talked

to other co-workers about the incident, but they were afraid of retaliation and or


3
    These are violent street gangs.
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being fired altogether. They stated “If you report anyone white they all come after

you, so we are going to keep our mouths shut.” Plaintiff has heard Brad constantly

reporting black Nursing Assistants to the Manager and on many occasions saying,

“all these black Nursing Assistants want to do is sit on their asses, play with their

phones and internet.”

      64.    The management at Allina did not take prompt remedial action to

correct discrimination directed at Plaintiff but instead condoned it.

      65.    Every time Plaintiff met with Deb Scott (his Nurse Manager) in Human

Resources (HR), she (Deb) would constantly accuse Plaintiff of being disingenuous

and call his credibility in question while not treating white workers the same way.

She expected Plaintiff to be looked down on, insulted and subservient and would not

allow him to even make a point. On multiple occasions she has said to him,

“Desmond you always have to have the last word, you have no empathy, you are too

direct and you think you know everything.” After one such meeting with HR,

Plaintiff met with Deb Scott in the hallway outside her office door. He asked Ms.

Scott “why do you constantly take me to HR when many complaints could be handled

without getting them involved. You really never allow me an opportunity to clarify

any misunderstanding. You always assume that I am in the wrong.” Ms. Scott

responded, “You and many blacks are too direct; you believe you know everything

and you have to get the last word and I am tired of it.” To say that Plaintiff was

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taken aback and felt hurt by the discriminatory attitude and approach is an

understatement. He reported the incident to the Louise Jacobs (former Director of

Telemetry). Nothing was done by Ms. Jacobs. All she told Plaintiff was that Ms.

Scott was intimidated by him.

      66.    Ms. Scott constantly ridiculed the fact that Plaintiff worked several

overtime hours. She was always sarcastically asking, “What do you people do with

all that overtime money? I wish that you would stop working so much because you

are affecting my budget.”

      67.    Another person who acted discriminatorily was Sandy Schum (H5200-

Assistant Nurse Manager). In 2019, Plaintiff was called and offered an afternoon

shift (3:00pm-11:30 pm). When he arrived at the Nursing Station Sandy was the day

Charge Nurse. She began to berate him by asking, “Why didn’t you answer your

phone?” he responded, “I was on the Freeway and do not answer my phone while I

am driving.” She continued to say, “You blacks don’t listen and you believe you

can get away with everything.” This was observed by other Nurses at the Nursing

Station that were awaiting their assignments. Once they heard the confrontation, they

quickly left the Nursing Station. Plaintiff reported the racial and derogatory

comments to Deb Scott (H5200-Nurse Manager) and Ms. Scott response was “Oh!

She had a bad day with the new Health Unit Coordinator (HUC).” Plaintiff

responded “Deb we all have bad days and he did not deserve being belittled and

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racially degraded.”

      68.    Kris Stiefenhofer (H5200-Assistant Nurse Manager) also acted

discriminatorily toward Plaintiff. On or about August 23, 2017, Plaintiff was

verbally and almost physically assaulted by Kris Stiefenhofer (Charge Nurse).

Plaintiff spoke to Ms. Scott about Kris’ behavior and her response was, “Maybe he

was having a bad day.” Plaintiff waited for Ms. Scott to address the issue between

Kris and myself but nothing was addressed although there were several witnesses

The incident stemmed from Plaintiff asking Kris for assistance with a sheath pull ( a

short hollow tube in which a catheter is inserted during cardiac catheterization), he

responded with, “You can do it yourself because I always pull by myself.” Plaintiff

stated “that was not the hospital protocol.” He aggressively approached Plaintiff

waving his fist by room 5274 on the Unit and stated, “Didn’t I tell you, boy, to pull

it by yourself!” His use of the word “boy” was discriminatory

      69.    On or about August 24, 2017, Plaintiff called Security to report the

incident between Kris and him. Plaintiff met with Sgt S. Feeg in ANW Lobby. Sgt.

Feeg informed me, “I can file a report but, if I do, it only stays with this office.”

He asked if Plaintiff spoke with his Manager and he explained that he did but nothing

was done. No report was filed and the issue with Kris remained unresolved.

      70.    While employed by Defendant, Plaintiff was subjected to numerous

discriminatory co-workers.

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                            Discriminatory Co-Workers

      71.    In 2019, while working a Friday afternoon shift (11:00-23:30) Plaintiff

picked-up one of RN Kim Isenhower’s patients from the morning shift (Rm 5274).

He believed this patient presented to the hospital for transaortic valve replacement

(TAVR) and hypertension. After reviewing the patient’s medication administration

record (MAR) Plaintiff noticed that Kim had missed and re-scheduled several of the

patient’s critical cardiac medications. Metoprolol was due at 6:00 pm was re-

scheduled to a different time. Because the patient missed his scheduled Metoprolol,

he became tachycardiac (heart rate 120-140) and the Rapid response team had to be

called. He notified the Charge Nurse of the incident. The next morning (Saturday)

he attempted to have a cordial conversation with Kim about why she had re-

scheduled such a critical cardiac medication and the adverse impact from her actions.

She stated, “I did not reschedule the medication.” She left the floor upset and went

to the Break Room. Plaintiff was outside rooms 5286, 5288 on the Unit and Kim

confronted Plaintiff by stating, “You blacks and niggers think you are so smart and

know everything.” The incident was reported to Plaintiff’s Manager Deb Scott, but

she dismissed his complaint by saying, “Kim wouldn’t do something like that.”

      72.    In 2018, during an afternoon shift (3:00 pm-11:30 pm) Plaintiff picked

up a patient from Wendy Hagland, RN, who was the day Nurse. After reviewing the

patient’s chart, he noticed that the patient´s morning potassium was abnormally low

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and no potassium protocol was ran by Wendy. He asked her why the potassium

protocol wasn’t ran because the potassium lab values were posted at approx. 5:30

am that morning and cardiac patients need potassium replacement immediately after

the lab values are posted.” She referred to him as, “You blacks seem to think you

know everything.” Plaintiff asked her “what she meant by “you blacks” ? The

incident was reported to his Manager, Deb Scott but she just ignored Plaintiff and

dismissed the incident.

      73.    In March of 2019 at the E3100 Nursing Station, Plaintiff floated to

E3100 for 4 hours (11:00 am-3:00 pm). When he arrived at the Nursing Station for

his patient assignment, the Charge Nurse stated “you must be that black nurse that

is floating here.”

                          PATIENTS’ RACIAL COMMENTS

      74.    On election night in 2016 Plaintiff, was assigned two male Caucasian

patients (Room 5254 and 5264). When he entered one patient’s room (Room 5254)

the patient began to inquire about what country he was from and if he was a real

Nurse and then stated, “I Don’t want any male Nigger Nurse taking care of me.”

Plaintiff reported this to the Charge Nurse who stated that she couldn’t change

his assignment.

      75.    The patient (Rm 5264) was watching the 2016 presidential election.

When Plaintiff entered the room, he gave a strange look, this was concerning because

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he had just come from room 5254 where that patient had called him “nigger.” The

patient opened with, “I am sure you “niggers” want Hillary to win, so you guys

can get a free ride.” The next day Plaintiff addressed the patients’ behaviors and the

bigotry Plaintiff endured the night before to his Manager, Ms. Deb Scott. He asked

her for a follow-up meeting about the racial incidents, but never received one.

                   ONGOING DISCRIMINATION AND RETALIATION

      76.    The bigotry and racial name calling continued, so Plaintiff felt

increasingly uncomfortable about reporting them to his Manager Deb Scott, Kate

Haugen, Supervisor and HR because when he did, he was retaliated against by his

co-workers who falsified reports to the HR “integrity line.” Plaintiff was repeatedly

taken to HR (approximately 20-25 times) and told, “You are lying and not credible.”

      77.    After numerous reports by Plaintiff to Allina regarding the ongoing

discrimination a phony complaint about him was cooked up in order to justify firing

him. On January 16, 2020, he was falsely accused of abusing a patient because he

gave his liquid feeding via gravity method (per documented doctor’s order).

      78.    This was proven to be false not only by the medical records but a

finding that Plaintiff had done nothing unethical by the Nursing Board.

      79.    Plaintiff was wrongfully terminated by Kate Haugen (Supervisor)

during the meeting with HR. Ms. Haugen referred to him as a “big black dude.”

Throughout the meeting she kept calling him “the big black dude.” She stated “I

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can’t believe a “big black dude” would hurt our patients.” Plaintiff eventually

addressed this by stating, “I didn’t know I was a “big black dude”.

      80.   In or around December 2019, Mr. Fielding cared for an inpatient with

a history of esophageal cancer. It was known the patient was ambulatory and

independently eating orally and being supplementally fed via a G-tube.

      81.   There are generally three ways to feed a patient via a G-tube. 1) bolus

feeding by syringe - this is performed by gravity, by pouring the formula into the

syringe; 2) bolus feeding by syringe- pushing feeding using a plunger to push the

formula into a syringe and 3) feeding formula via a feeding pump which is more

similar to that of an IV pump.

      82.   Upon reviewing the order later after the feeding was completed, the

resident MD had incorrectly changed the order to pump feeding, which was not in

accord with hospital policy. Knowing the hospital’s policy on G-tube feedings and

the order of the attending physician and corresponding dietician, Mr. Fielding

proceeded with the physician’s order, which was the proper procedure.

      83.   The Abbott Northwestern Enteral Nutrition Feeding Procedure policy

and procedure guideline reference #MS0088 clearly states under DEFINITIONS:

Bolus infusion (syringe or bag) a larger volume given over several minutes. Bolus

tube feedings should be with a gastrostomy placed tube or commonly known as a

“G-tube.” If the patient has a jejunal tube or commonly known as a “J-tube”,

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feedings should be infused by feeding pump. This policy was recently approved on

8/20/2019 by the Nutrition Committee and 9/4/2019 by the Policy and Procedure

Committee.

      84.    According to the guidelines for enteral feeding in adult hospital patients

by Stroud, Duncan & Nightingale (2003), decisions on route, content, and

management of nutritional support are best made by multidisciplinary nutrition

teams (Grade A evidence). In this particular case, this is why the attending MD and

dietician wrote the original order for the bolus gravity fed order. A resident physician

who is still in the learning process would not have likely known the specialized

process of parenteral and enteral nutrition, thus changing the order without weighing

the evidence-based guidelines. Mr. Fielding followed the employer’s appropriate

procedure and his employer later falsely accused him of not doing so pretextually as

a basis to wrongly penalize him based on discrimination.

                     REPEATED THEME AT ALLINA THAT BLACK
                       PEOPLE SHOULD RETURN TO AFRICA

      85.    Sometime in 2018-2019 Plaintiff was caring for an alert and oriented

male patient in Room 5288, the patient called for assistance to use his urinal and

respiratory care. This occurred approximately 11:20 pm during the change of shift,

so the incoming Nurse (Maria Fulton), Plaintiff, Nursing Assistant and the

Respiratory Therapist entered the patient’s room. The Nursing Assistant setup the

patient’s urinal, while the incoming Nurse and Plaintiff conducted a bedside report
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and the Respiratory Therapist setup for the respiratory treatment. The patient missed

the urinal, so the Nursing Assistant and Plaintiff had to change his bedding and

clothing. While we were doing his care, he stated, “I am tired of you colored people

taking care of me and you people need to go back to Africa.” This was witnessed

by Maria Fulton, the Nursing Assistant and the Respiratory Therapist. This was

electronically documented and reported to Ms. Scott. In his Allina medical record

this patient had a documented history of bigotry, rudeness and racial bias against

people of color. Plaintiff’s Charge Nurse (Kris S) was aware of this patient’s

established behavior, but Plaintiff was still assigned this patient knowing his racial

bias towards people of color. This was done to subject him to racism and in the hope

that the patient out discriminatory bias would complain about him; it was a setup.

          86.   Plaintiff worked with RN Tim Soboleski (H4000) when he floated to

H5200 Nursing Unit. While Soboleski was there Plaintiff heard him constantly

making racial and derogatory comments about black co-workers and patients.

Plaintiff observed him being condescending to African American Nursing Assistants

by calling them “hey you, these black Aides are so lazy and all they want to do is

sit on their black asses and I wish they all go back to Africa.” He has also

commented “that the hospital shouldn’t admit these black patients.”4

          87.   - Plaintiff overheard Shelia (Float Pool Nurse) make comments about


4
    Somalian

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black patients such as “just another black patient in the room, they are so rude and

I dislike having black patients on my assignment list and wish they would go back

to their home country.”

      88.    In March 2019, Plaintiff floated to Nursing Unit E3100 for (4) hours

(11:00 am-3:00 pm). After receiving his assignment, he noticed that one of his

patients was a female and Muslim. He asked the Charge Nurse about male Nurses

caring for Muslim women. The Charge Nurse response was “she is not Muslim, just

another black Ethiopian patient.”

              RACIALLY DISCRIMINATORY ENVIRONMENT AT ALLINA

      89.    To Plaintiff’s knowledge there were No (0%) African American

Managers or Supervisors in any of the 25 Specialty Clinics. Nor were there any

African American nurses in any of the 25 Specialty Clinics.

      90.    The breakdown that he was aware of at Allina shows the discrimination

in its hiring and promotion practices.

      •      Nurse Practitioner and Physician Assistants = approx. 30

      No (0%) African American Nurse Practitioner and Physician Assistants

      •      No Mentorship Program for African American nurses
      •      No Diversity Program or Training
      •      No Conflict Resolution Program or Committee
      •      Never attended a Diversity Training or Awareness Class during my 13
             years (2007-2020) at ANW.
      •      Qualified African American nurses that have applied for leadership
             positions and were rejected.

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             o     Margaret-PB 2000(ICU)-20 years (Med- Surg and ICU
                   experience)
             o     Sadia-Station H5200 Assistant Nurse Manager (Med- Surg and
                   Telemetry experience.
             o     Moses D-Station H7200-Assistant Nurse Manager (Med-Surg
                   experience)

      91.    All three positions were filled by less experienced Caucasian Nurses.

In the case of Moses D., he was the interim third shift Assistant Nurse Manager for

approx. (1) year. He applied for the position, but was rejected for a candidate with

less experience. He was then required to train that candidate.

      92.    Stations E3100 and H5000 have the highest rate of discrimination,

retaliation, harassment and lateral violence against African American nurses. Every

African American nurse that has floated or worked on those two stations has had

false accusations filed against them and all have been taken to HR multiple times.

      EXAMPLES OF PREFERENTIAL TREATMENT FOR WHITE PEOPLE ON H5200

      93.    If you are an African American attending college and have a conflict

with your class schedule and work, it is unlikely that Ms. Scott would intervene and

adjust your work schedule. However, other white workers will have their work

schedule modified to accommodate. There are several Caucasian staff on H5200

receiving these privileges.

      94.    If you are African American seeking to modify your working hours

(FTE) you are unlikely to have your request granted.

      95.    White smokers are treated differently than black smokers. There are
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several White Smokers on H5200 that have multiple breaks and unaccountable

absences from the Unit and Abbott campus throughout their shifts and not being

addressed, but this was not the same treatment that was observed by Plaintiff for

black workers.

      96.    White supervisors are allowed to abuse black workers whereas these

same white supervisors act differently and better to white workers. In September

2017 there was an altercation caused by Kris Stiefenhofer (now second shift Charge

Nurse) and myself. This discrimination by him occurred when Plaintiff requested

help (sheath pull) from him. Kris was verbally aggressive and almost physically

attacked me. Plaintiff reported the incident to Ms. Scott and she respond with “oh,

he must have had a bad day.” Ms. Scott response was very disheartening and

Plaintiff felt that as his Manager she should have done more to protect him. Kris

Stiefenhofer as a Charge Nurse was never disciplined for his actions. Had the roles

been reversed Plaintiff would have been brought to Human Resources, given a

reprimand and possibly terminated.

      97.    African Americans are least recognized for their care giving efforts on

H5200. For example, a month ago Zoe Hoffman (African American), nursing

assistant and Plaintiff were caring for a fresh CV patient. Zoe entered the patient’s

room and found the patient unresponsive. We activated Code Blue and revived the

patient who was later transferred to the CV ICU. Plaintiff wrote Zoe a Care Award

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for her observation skill which saved the patient’s life. Fielding informed Ms. Scott

of Zoe’s care giving effort and stated “it would mean a lot if the Manager would

recognize her for what she did.” Zoe never received an acknowledgment from Ms.

Scott.

         98.   Medication errors are tolerated by white workers but not by black

workers. There are habitual medication errors being made by select nurses, but no

“coaching,” verbal or writing reprimands are given by Ms. Scott. These nurses keep

making the same medication errors which places patients at risk.

         99.   Racially discriminatory comments and treatment are acceptable

behavior at Allina. Plaintiff was frequently subjected to derogatory comments on

H5200 such as “you colored people, you blacks and you black guys must be my

nursing assistant.” Plaintiff has brought these issues to Ms. Scott but no prompt

remedial action was taken to correct the situation.

               DISCRIMINATORY AND NEGATIVE ASSIGNMENTS AT ALLINA

         100. Plaintiff was routinely assigned patients with extreme behavioral issues

by the Assistant Nurse Managers and fill-in Charge Nurses who included: Sandy

Schum (1st shift Assistant Nurse Manager), Jean (Former 2nd shift Assistant Nurse

Manager), Bruce Bird (Former 3rd shift Assistant Nurse Manager), Kris Stiefenhofer

(2nd shift Assistant Nurse Manager). He frequently encountered patient care

challenges with these patients and sometimes sought guidance and requested

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assistance from the Assistant Nurse Managers and fill-in Charge Nurses. These

requests were more often than not rebuffed and ignored and no support was given to

his patient plan of care actions. Plaintiff observed that his patient assignments

usually consisted of mostly African American patients based on stereotyping. The

Charge Nurses claim, “They’re your people so you should better understand

them.”

      101. During the course of plaintiff’s employment defendant maintained a

race discriminatory attitude toward plaintiff. He observed that the defendant had

unlawful prejudice and bias for people of the black race. Based on this unlawful

prejudice the Allina discriminatorily treated plaintiff because he was of the black

race. He was treated differently and worse than people of the white race. The

standards expected of him were far different and more difficult to achieve because

he was of the black race. Defendant subjected plaintiff to discriminatory treatment

that harmed his ability to work, penalized him, held him back for promotions and

subjected him to abuse because he was of the black race.

      102. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of racial prejudice of the defendant.

Allina discriminatorily withheld promotions from Plaintiff due to the forgoing

prejudice.

      103. Defendant Allina discriminated against plaintiff a black employee with

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respect to conditions, privileges, advantages and benefits of employment with

defendant specifically defendant maintained a separate unlawful prejudicial attitude

towards African-Americans and denied plaintiff a black employee the opportunity

of obtaining better conditions of employment, the design, intent, purpose and effect

being to continue and preserve defendant’s long-standing policy, practice, custom

and usage of limiting the employment and promotional opportunities of black

employees of the defendant because of his race.

      104. While employed by Allina in 2019 and 2020 the Defendant repeatedly

and continually applied discriminatory attitude toward plaintiff because of the color

of his skin. He observed that the defendant had unlawful prejudice and bias for

people who had dark skin similar to his own. Based on this unlawful prejudice

toward the color of his skin the Allina discriminatorily treated plaintiff. He was

treated differently and worse than people who had white skin color. The standards

expected of him were far different and more difficult to achieve because of the color

of his skin. Defendant subjected plaintiff to discriminatory treatment that harmed

his ability to work, penalized him, held him back for promotions and subjected him

to abuse because of the color of his skin.

      105. During the time period of 2019 and 2020 the Defendant repeatedly and

continually applied discriminatory approached directed at plaintiff based on his

national origin. Defendant showed discriminatory hostility because of his having

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African ancestry. He observed that the defendant had unlawful prejudice and bias

for people who were African American. Based on this unlawful prejudice toward

African Americans the Allina discriminatorily treated plaintiff. He was treated

differently and worse than people who did not have African American ancestry. The

standards expected of him as a person with a national origin of being African

American were far different and more difficult to achieve than those who had

European ancestry. Defendant subjected plaintiff to discriminatory treatment that

harmed his ability to work, penalized him, held him back for promotions and

subjected him to abuse because of his national origin.

      106. Defendant followed a policy and practice of discrimination in

employment against Blacks on account of their race. Under such policy and practice

defendant Allina through its agents and employees repeatedly harassed,

discriminated and retaliated against plaintiff because he attempted to obtain equal

opportunity employment for himself and because he filed the aforementioned

charges of discrimination with the equal employment opportunity commission

      107. During the time plaintiff was employed by defendant Allina said

defendant discriminated against plaintiff with respect to the terms, conditions and

privileges of employment because of plaintiff’s race and color in violation of section

Title VII of the Civil Rights Act of 1964, 42 U.S.C. §200e et seq., as amended.

      108. The aforementioned discrimination consisted of dissimilar treatment

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for Plaintiff from his co-workers who were white. Based on such race, color and

national origin the Defendant Allina made unfounded complaints against the

plaintiff. These mendacious accusations by his white supervisors included false

complaints concerning plaintiff’s work; his assignment by supervisors to perform

inappropriate duties, giving him jobs while withholding needed assistance to

perform them, withholding proper assistance and then unfairly criticizing him, doing

acts to set him up for failure, giving him a job or task and then changing instructions

and/or giving contradictory directions, failing to heed his warnings while later

blaming him for things he had warned them could be problems and repeated insults

and slurs concerning plaintiff in his presence by supervisors.

      109. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

      110. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

      111. The forgoing discrimination against Plaintiff was in violation of 42

U.S.C. § 2000e et seq., as amended.

      112. Plaintiff had to work in a hostile work environment at Allina. The work

environment was hostile based on Fielding race, color, and national origin.

Discrimination was regular, repeated and continual from 2019 through the date of

termination.

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      113. Plaintiff an African American person while working for Allina was

forced to work in a hostile work environment where his Supervisor subjected

employees to discrimination based on race, color, and national origin. Further, the

working environment at Allina condoned discrimination, harassment, a lack of

respect for black employees and retaliation.

      114. Plaintiff’s supervisor subjected Fielding to continual and repeated race,

color, and national origin discrimination, harassment and retaliation. Under his

supervision, as an African American person Fielding was required to submit to

conduct or communication by him that was abusive and discriminatory. Submission

or rejection of his supervisor’s abusive conduct was a factor in decisions affecting

Fielding’s employment. His supervisor’s conduct and communications had the

purpose or effect of substantially interfering with Fielding’s employment and

creating an intimidating, hostile and offensive employment environment.

      115.   Allina knew of Plaintiff’s Supervisor discrimination, harassment and

retaliation but failed to take timely and appropriate action. His Supervisor’s race,

color, and national origin discrimination and harassment was so pervasive that it

altered the terms, conditions, and privileges of Fielding’s employment and created

an abusive working environment. The supervisor’s conduct of discrimination,

negative remarks, insults, subjecting him to other abusive acts caused Fielding

severe emotional harm.

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      116. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

      117. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      118. Defendant’s discrimination against Fielding was perpetrated because

Fielding was known by defendant to be of African descent, have a different color

skin from his white co-workers, born in a foreign country, and have ancestors of an

African origin. Defendants’ discrimination was repeatedly and continually abusive

and damaging to Fielding. The Defendants remarks and acts created a hostile work

environment. Fielding suffered adverse employment actions while employed by

Allina.

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      119. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting race discrimination and not for a legitimate

business reason. The employer did acts that were pre-textual. The employer did not

supply honest responses to Plaintiff’s concerns for their adverse actions but rather

gave incomplete or inconsistent explanations further proving to Plaintiff that the

employer’s acts were unlawful.

      120. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones the Hospital could create a false accusation

about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

      121. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      122. While employed by Allina Plaintiff was forced to work in a racially

discriminatory work environment where over and over he had to do his job while

being subjected to discrimination, harassment and retaliation. When he tried to

reason with his discriminatory tormentors he was further harassed, discriminated and

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retaliated against. Finally, after numerous reports of discrimination, harassment and

retaliation by Plaintiff to Allina it pre-textually fired me. As a result he has

continued to experience anxiety, stress and other long-lasting negative effects from

the terribly discriminatory, harassing and retaliatory treatment he experienced being

employed by Allina.

      123. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

incurred severe mental and emotional damage.

      124. Defendant’s foregoing race discrimination, harassment and retaliation

was the direct and proximate cause of damage to Plaintiff in excess of $75,000.

                             SECOND CAUSE OF ACTION

                  AGAINST ALLINA FOR DISCRIMINATION BASED
                    ON COLOR IN VIOLATION OF TITLE VII OF
               THE CIVIL RIGHTS ACT OF 1964, ET SEQ., AS AMENDED

      125. The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      126. Plaintiff was employed by Allina from on or about June 2007 until

Allina wrongfully pretextually terminated him on January 16, 2020.

      127. Plaintiff is an African American and seeks redress for discrimination

on account of his color (black) in violation of laws the United States in his capacity

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as an employee of Allina. The color of his skin was substantially darker than that of

his supervisor and many of his co-workers.

       128. While working for Allina Plaintiff experienced color discrimination,

harassment and retaliation.

       129. After Plaintiff filed a complaint with the EEOC, subsequently Allina

further discriminated and retaliated against him including a discriminatory and

retaliatory firing.

       130. The discrimination, harassment and retaliation were so traumatizing

that he tried to block out the horrible discriminatory treatment just to be able to cope.

       131. The work environment at Allina where Plaintiff worked in had both

supervisors and co-workers who were discriminatory and used the discriminatory

and offensive word Nigger. The “N” word was directed at him by workers with

white skin that was different from his dark skin.

       132. Deb Scott (Plaintiff’s Manager) and Kate Haugen (Plaintiff’s

Supervisor) have referred to Plaintiff on many occasions as “you blacks.” On the

day of his wrongful termination January 16, 2020, Ms. Haugen throughout the

meeting constantly referred to Plaintiff as the “big black dude” which was annotated

on his termination papers.

       133. Plaintiff was sent to Human Resources many times with factious claims

of his inadequate job performance (despite his positive work review), treatment of

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patients, generalized comments which have clearly been taken out of context by

coworkers, and exaggerated write ups by management as a means to terminate him.

Mr. Fielding has been employed for Abbott Northwestern Hospital for 13 years, 7+

years have been on H5200 under the supervision of Deb Scott RN.

           134. The “N” word was used by Brad Bjornson on so many occasions he

has lost count and when he did not use the “N” word, he resorted to “you blacks.”

He viewed and believed his derogatory statements directed to and/or in Plaintiff’s

presence were funny. His behavior worsened between the years 2019 and 2020. All

interactions were reported to Ms. Scott and Ms. Haugen.

           135. Plaintiff was ignored by Ms. Scott and Ms. Haugen every time he

reported Brad Bjornson’s bigotry and racially discriminatory statements. They

would either walk-away when Plaintiff approached them about this or they would

respond by saying “You know Brad, he is only joking.” Plaintiff was speaking with

about 3-4 Nursing Assistants and he believes another Nurse in the hallway when

Brad approached us and asked, “What are you niggers doing in the hallway, you

guys must be with the Bloods or the Crips.”5 Plaintiff reported the incident to Ms.

Scott, but nothing was done. As Brad’s bigoted behavior continued, Plaintiff talked

to other co-workers about the incident, but they were afraid of retaliation and or

being fired altogether. They stated “If you report anyone white they all come after


5
    These are violent street gangs.

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you, so we are going to keep our mouths shut.” Plaintiff has heard Brad constantly

reporting black Nursing Assistants to the Manager and on many occasions saying,

“all these black Nursing Assistants want to do is sit on their asses, play with their

phones and internet.”

      136. The management at Allina did not take prompt remedial action to

correct discrimination directed at Plaintiff but instead condoned it.

      137. Every time Plaintiff met with Deb Scott (his Nurse Manager) in Human

Resources (HR), she (Deb) would constantly accuse Plaintiff of being disingenuous

and call his credibility in question while not treating white workers the same way.

She expected Plaintiff to be looked down on, insulted and subservient and would not

allow him to even make a point. On multiple occasions she has said to him,

“Desmond you always have to have the last word, you have no empathy, you are

too direct and you think you know everything.” After one such meeting with HR,

Plaintiff met with Deb Scott in the hallway outside her office door. He asked Ms.

Scott “why do you constantly take me to HR when many complains could be handled

without getting them involved. You really never allow me an opportunity to clarify

any misunderstanding. You always assume that I am in the wrong.” Ms. Scott

responded, “You and many blacks are too direct; you believe you know everything

and you have to get the last word and I am tired of it.” To say that Plaintiff was

taken aback and felt hurt by the discriminatory attitude and approach is an

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understatement. He reported the incident to the Louise Jacobs (former Director of

Telemetry). Nothing was done by Ms. Jacobs. All she told Plaintiff was that Ms.

Scott was intimidated by him.

      138. Ms. Scott constantly ridiculed the fact that Plaintiff worked several

overtime hours. She was always sarcastically asking, “What do you people do with

all that overtime money? I wish that you would stop working so much because you

are affecting my budget.”

      139. Another person who acted discriminatorily was Sandy Schum (H5200-

Assistant Nurse Manager). In 2019, Plaintiff was called and offered an afternoon

shift (3:00pm-11:30 pm). When he arrived at the Nursing Station Sandy was the day

Charge Nurse. She began to berate him by asking, “Why didn’t you answer your

phone?” he responded, “I was on the Freeway and do not answer my phone while I

am driving.” She continued to say, “You blacks don’t listen and you believe you

can get away with everything.” This was observed by other Nurses at the Nursing

Station that were awaiting their assignments. Once they heard the confrontation, they

quickly left the Nursing Station. Plaintiff reported the racial and derogatory

comments to Deb Scott (H5200-Nurse Manager) and Ms. Scott response was “Oh!

She had a bad day with the new Health Unit Coordinator (HUC).” Plaintiff

responded “Deb we all have bad days and he did not deserve being belittled and

racially degraded.

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      140. Kris Stiefenhofer (H5200-Assistant Nurse Manager) also acted

discriminatorily toward Plaintiff. On or about August 23, 2017, Plaintiff was

verbally and almost physically assaulted by Kris Stiefenhofer (Charge Nurse).

Plaintiff spoke to Ms. Scott about Kris’ behavior and her response was, “Maybe he

was having a bad day.” Plaintiff waited for Ms. Scott to address the issue between

Kris and myself but nothing was addressed although there were several witnesses

The incident stemmed from Plaintiff asking Kris for assistance with a sheath pull ( a

short hollow tube in which a catheter is inserted during cardiac catheterization), he

responded with, “You can do it yourself because I always pull by myself.” Plaintiff

stated “that was not the hospital protocol.” He aggressively approached Plaintiff

waving his fist by room 5274 on the Unit and stated, “Didn’t I tell you, boy, to pull

it by yourself!” His use of the word “boy” was discriminatory.

      141. On or about August 24, 2017, Plaintiff called Security to report the

incident between Kris and him. Plaintiff met with Sgt S. Feeg in ANW Lobby. Sgt.

Feeg informed me, “I can file a report but, if I do, it only stays with this office.” He

asked if Plaintiff spoke with his Manager and he explained that he did but nothing

was done. No report was filed and the issue with Kris remained unresolved.

      142. While employed by Defendant, Plaintiff was subjected to numerous

discriminatory co-workers.

                             Discriminatory Co-Workers

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      143. In 2019, while working a Friday afternoon shift (11:00-2330) Plaintiff

picked-up one of RN Kim Isenhower’s patients from the morning shift (Rm 5274).

He believed this patient presented to the hospital for transaortic valve replacement

(TAVR) and hypertension. After reviewing the patient’s medication administration

record (MAR) Plaintiff noticed that Kim had missed and re-scheduled several of the

patient’s critical cardiac medications. Metoprolol was due at 6:00 pm was re-

scheduled to a different time. Because the patient missed his scheduled Metoprolol,

he became tachycardiac (heart rate 120-140) and the Rapid response team had to be

called. He notified the Charge Nurse of the incident. The next morning (Saturday)

he attempted to have a cordial conversation with Kim about why she had re-

scheduled such a critical cardiac medication and the adverse impact from her actions.

She stated, “I did not reschedule the medication.” She left the floor upset and went

to the Break Room. Plaintiff was outside rooms 5286, 5288 on the Unit and Kim

confronted Plaintiff by stating, “You blacks and niggers think you are so smart and

know everything.” The incident was reported to Plaintiff’s Manager Deb Scott, but

she dismissed his complaint by saying, “Kim wouldn’t do something like that.”

      144. In 2018, during an afternoon shift (3:00 pm-11:30 pm) Plaintiff picked

up a patient from Wendy Hagland, RN, who was the day Nurse. After reviewing the

patient’s chart, he noticed that the patient´s morning potassium was abnormally low

and no potassium protocol was ran by Wendy. He asked her why the potassium

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protocol wasn’t ran because the potassium lab values were posted at approx. 5:30

am that morning and cardiac patients need potassium replacement immediately after

the lab values are posted. She referred to him as, “You blacks seem to think you

know everything.” Plaintiff asked her “what she meant by “you blacks” ? The

incident was reported to his Manager, Deb Scott but she just ignored Plaintiff and

dismissed the incident.

      145. In March of 2019 at the E3100 Nursing Station, Plaintiff floated to

E3100 for 4 hours (11:00 am-3:00 pm). When he arrived at the Nursing Station for

his patient assignment, the Charge Nurse stated “you must be that black nurse that

is floating here.”

      PATIENTS’ COMMENTS TO PLAINTIFF BECAUSE OF HIS DARK SKIN COLOR

      146. On election night in 2016 Plaintiff, was assigned two male Caucasian

patients (Room 5254 and 5264). When he entered one patient’s room (Room 5254)

the patient began to inquire about what country he was from and if he was a real

Nurse and then stated, “I Don’t want any male Nigger Nurse taking care of me.”

Plaintiff reported this to the Charge Nurse who stated that she couldn’t change his

assignment.

      147. The patient (Rm 5264) was watching the 2016 presidential election.

When Plaintiff entered the room, he gave a strange look, this was concerning because

he had just come from room 5254 where that patient had called him “nigger.” The

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patient opened with, “I am sure you “niggers” want Hillary to win, so you, guy,

can get a free ride.” The next day Plaintiff addressed the patients’ behaviors and the

bigotry Plaintiff endured the night before to his Manager, Ms. Deb Scott. He asked

her for a follow-up meeting about the racial incidents, but never received one.

                   ONGOING DISCRIMINATION AND RETALIATION

      148. The bigotry and racial name calling continued, so Plaintiff felt

increasingly uncomfortable about reporting them to his Manager Deb Scott, Kate

Haugen, Supervisor and HR because when he did, he was retaliated against by his

co-workers who falsified reports to the HR “integrity line.” Plaintiff was repeatedly

taken to HR (approximately 20-25 times) and told, “You are lying and not credible.”

      149. After numerous reports by Plaintiff to Allina regarding the ongoing

discrimination a phony complaint about him was cooked up in order to justify firing

him. On January 16, 2020, he was falsely accused of abusing a patient because he

gave his liquid feeding via gravity method (per documented doctor’s order).

      150. This was proven to be false not only by the medical records but a

finding that Plaintiff had done nothing unethical by the Nursing Board.

      151. Plaintiff was wrongfully terminated by Kate Haugen (Supervisor)

during the meeting with HR. Ms. Haugen referred to him as a “big black dude.”

Throughout the meeting she kept calling him “the big black dude.” She stated “I

can’t believe a “big black dude” would hurt our patients.” Plaintiff eventually

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addressed this by stating, “I didn’t know I was a “big black dude”.

      152. In or around December 2019, Mr. Fielding cared for an inpatient with

a history of esophageal cancer. It was known the patient was ambulatory and

independently eating orally and being supplementally fed via a G-tube. There are

generally three ways to feed a patient via a G-tube.

      153. There are generally three ways to feed a patient via a G-tube. 1) bolus

feeding by syringe -this is performed by gravity, by pouring the formula into the

syringe; 2) bolus feeding by syringe- pushing feeding using a plunger to push the

formula into a syringe and 3) feeding formula via a feeding pump which is more

similar to that of an IV pump.

      154. Upon reviewing the order later after the feeding was completed, the

resident MD had changed the order to pump feeding, which was not in accord with

the hospital’s policies. Knowing the hospital’s policy on G-tube feedings and the

order of the attending physician and corresponding dietician, Mr. Fielding proceeded

with the attending physicians’ order.

      155. The Abbott Northwestern Enteral Nutrition Feeding Procedure policy

and procedure guideline reference #MS0088 clearly states under DEFINITIONS:

Bolus infusion (syringe or bag) a larger volume given over several minutes. Bolus

tube feedings should be with a gastrostomy placed tube or commonly known as a

“G-tube.” If the patient has a jejunal tube or commonly known as a “J-tube”,

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feedings should be infused by feeding pump. This policy was recently approved on

8/20/2019 by the Nutrition Committee and 9/4/2019 by the Policy and Procedure

Committee.

      156. According to the guidelines for enteral feeding in adult hospital patients

by Stroud, Duncan & Nightingale (2003), decisions on route, content, and

management of nutritional support are best made by multidisciplinary nutrition

teams (Grade A evidence). In this particular case, this is why the attending MD and

dietician wrote the original order for the bolus gravity fed order. A resident physician

who is still in the learning process would not have likely known the specialized

process of parenteral and enteral nutrition, thus changing the order without weighing

the evidence-based guidelines. Mr. Fielding followed the employer’s appropriate

procedure and his employer falsely accused him of not doing so pretextually as a

basis to wrongly penalize him.

                     REPEATED THEME AT ALLINA THAT BLACK
                       PEOPLE SHOULD RETURN TO AFRICA

      157. Acts that were discriminatory were directed at him by white people who

made clear that his dark skin made him unwanted in the workplace Sometime in

2018-2019 Plaintiff was caring for an alert and oriented male patient in Room 5288,

the patient called for assistance to use his urinal and respiratory care. This occurred

approximately 11:20 pm during the change of shift, so the incoming Nurse (Maria

Fulton), Plaintiff, Nursing Assistant and the Respiratory Therapist entered the
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patient’s room. The Nursing Assistant setup the patient’s urinal, while the incoming

Nurse and Plaintiff conducted a bedside report and the Respiratory Therapist setup

for the respiratory treatment. The patient missed the urinal, so the Nursing Assistant

and Plaintiff had to change his bedding and clothing. While we were doing his care,

he stated, “I am tired of you colored people taking care of me and you people need

to go back to Africa.” This was witnessed by Maria Fulton, the Nursing Assistant

and the Respiratory Therapist. This was electronically documented and reported to

Ms. Scott. In his Allina medical record this patient had a documented history of

bigotry, rudeness and racial bias against people of color. Plaintiff’s Charge Nurse

(Kris S) was aware of this patient’s established behavior, but Plaintiff was still

assigned this patient knowing his racial bias towards people of color.

          158. Plaintiff worked with RN Tim Soboleski (H4000) when he floated to

H5200 Nursing Unit. While Soboleski was there Plaintiff heard him constantly

making racial and derogatory comments about black co-workers and patients.

Plaintiff observed him being condescending to African American Nursing Assistants

by calling them “hey you, these black Aides are so lazy and all they want to do is

sit on their black asses and I wish they all go back to Africa.” He has also

commented “that the hospital shouldn’t admit these black patients.”6

          159. Plaintiff overheard Shelia (Float Pool Nurse) make comments about


6
    Somalian

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black patients such as “just another black patient in the room, they are so rude and

I dislike having black patients on my assignment list and wish they would go back

to their home country.”

      160. In March 2019, Plaintiff floated to Nursing Unit E3100 for (4) hours

(11:00 am-3:00 pm). After receiving his assignment, he noticed that one of his

patients was a female and Muslim. He asked the Charge Nurse about male Nurses

caring for Muslim women. The Charge Nurse response was “she is not Muslim, just

another black Ethiopian patient.”

      EXAMPLES OF PREFERENTIAL TREATMENT OF WHITE PEOPLE ON H5200

      161. If you have dark skin like Plaintiff and are attending college and have

a conflict with your class schedule and work, it is unlikely that Ms. Scott would

intervene and adjust your work schedule. However, other white workers will have

their work schedule modified to accommodate. There are several Caucasian staff on

H5200 receiving these privileges.

      162. If you are dark skinned like Plaintiff and seeking to modify your

working hours (FTE) you are unlikely to have your request granted.

      163. White smokers are treated differently than black smokers. There are

several white smokers on H5200 that have multiple breaks and unaccountable

absences from the Unit and Abbott campus throughout their shifts and not being

addressed, but this was not the same treatment that was observed by Plaintiff for

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black workers.

      164. White supervisors are allowed to abuse black workers whereas these

same white supervisors act differently and better to white workers. In September

2017 there was an altercation caused by Kris Stiefenhofer (now second shift Charge

Nurse) and myself. This discrimination by him occurred when Plaintiff requested

help (sheath pull) from him. Kris was verbally aggressive and almost physically

attacked him. Plaintiff reported the incident to Ms. Scott and she respond with “oh,

he must have had a bad day.” Ms. Scott response was very disheartening and

Plaintiff felt that as his Manager she should have done more to protect him. Kris

Stiefenhofer as a Charge Nurse was never disciplined for his actions. Had the roles

been reversed Plaintiff would have been brought to Human Resources, given a

reprimand and possibly terminated.

      165. People of color are least recognized for their care giving efforts on

H5200. For example, Zoe Hoffman (African American), nursing assistant and

Plaintiff were caring for a fresh CV patient. Zoe entered the patient’s room and found

the patient unresponsive. Plaintiff participated in activating a Code Blue and revived

the patient who was later transferred to the CV ICU. Plaintiff wrote Zoe a Care

Award for her observation skill which saved the patient’s life. Fielding informed

Ms. Scott of Zoe’s care giving effort and stated “it would mean a lot if the Manager

would recognize her for what she did.” Zoe never received an acknowledgment from

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Ms. Scott.

      166. Medication errors are tolerated by white workers but not by people of

color workers. There are habitual medication errors being made by select nurses,

but no “coaching,” verbal or writing reprimands are given by Ms. Scott. These nurses

keep making the same medication errors which places patients at risk.

      167. Discriminatory comments and treatment directed at people of color are

acceptable behavior at Allina. Plaintiff was frequently subjected to derogatory

comments on H5200 such as “you colored people, you blacks and you must be my

nursing assistant.” Plaintiff has brought these issues to Ms. Scott but no prompt

remedial action was taken to correct the situation.

             DISCRIMINATORY AND NEGATIVE ASSIGNMENTS AT ALLINA

      168. Plaintiff was routinely assigned patients with extreme behavioral issues

by the Assistant Nurse Managers and fill-in Charge Nurses who included: Sandy

Schum (1st shift Assistant Nurse Manager), Jean (Former 2nd shift Assistant Nurse

Manager), Bruce Bird (Former 3rd shift Assistant Nurse Manager), Kris Stiefenhofer

(2nd shift Assistant Nurse Manager). He frequently encountered patient care

challenges with these patients and sometimes sought guidance and requested

assistance from the Assistant Nurse Managers and fill-in Charge Nurses. These

requests were more often than not rebuffed and ignored and no support was given to

his patient plan of care actions. Plaintiff observed that his patient assignments

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usually consisted of mostly African American patients who were people of color

based on stereotyping. The Charge Nurses claim, “They’re your people so you

should better understand them.”

      169. During the course of plaintiff’s employment defendant maintained a

discriminatory attitude toward plaintiff because of his dark skin color. He observed

that the defendant had unlawful prejudice and bias against people of color. Based

on this unlawful prejudice the Allina discriminatorily treated plaintiff because he

was of the black race. He was treated differently and worse than people of the white

race. The standards expected of him were far different and more difficult to achieve

because he was of the black race. Defendant subjected plaintiff to discriminatory

treatment that harmed his ability to work, penalized him, held him back for

promotions and subjected him to abuse because he was of the black race.

      170. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of racial prejudice of the defendant.

Allina discriminatorily withheld promotions from Plaintiff due to the forgoing

prejudice.

      171. Defendant Allina discriminated against plaintiff a black employee with

respect to conditions, privileges, advantages and benefits of employment with

defendant specifically defendant maintained a separate unlawful prejudicial attitude

towards African-Americans and denied plaintiff a black employee the opportunity

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of obtaining better conditions of employment, the design, intent, purpose and effect

being to continue and preserve defendant’s long-standing policy, practice, custom

and usage of limiting the employment and promotional opportunities of black

employees of the defendant because of his race.

      172. While employed by Allina in 2019 and 2020 the Defendant repeatedly

and continually applied discriminatory attitude toward plaintiff because of the color

of his skin. He observed that the defendant had unlawful prejudice and bias for

people who had dark skin similar to his own. Based on this unlawful prejudice

toward the color of his skin the Allina discriminatorily treated plaintiff. He was

treated differently and worse than people who had white skin color. The standards

expected of him were far different and more difficult to achieve because of the color

of his skin. Defendant subjected plaintiff to discriminatory treatment that harmed

his ability to work, penalized him, held him back for promotions and subjected him

to abuse because of the color of his skin.

      173. During the time period of 2019 and 2020 the Defendant repeatedly and

continually applied discriminatory approached directed at plaintiff based on the

color of his skin. Defendant showed discriminatory hostility because of his having

dark skin. He observed that the defendant had unlawful prejudice and bias against

people of color. Based on this unlawful prejudice toward people of color Allina

discriminatorily treated plaintiff. He was treated differently and worse than people

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with white skin. The standards expected of him as a person of color were far

different and more difficult to achieve than those who had white skin. Defendant

subjected plaintiff to discriminatory treatment that harmed his ability to work,

penalized him, held him back for promotions and subjected him to abuse because of

the color of his skin.

      174. Defendant followed a policy and practice of discrimination in

employment against blacks on account of their skin color. Under such policy and

practice defendant Allina through its agents and employees repeatedly harassed,

discriminated and retaliated against plaintiff because he attempted to obtain equal

opportunity employment for himself and because he filed the aforementioned

charges of discrimination with the equal employment opportunity commission

      175. During the time plaintiff was employed by defendant Allina said

defendant discriminated against plaintiff with respect to the terms, conditions and

privileges of employment because of Plaintiff’s color in violation of section Title

VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et seq., as amended.

      176. The aforementioned discrimination consisted of dissimilar treatment

for Plaintiff from his co-workers who were white. Based Plaintiff’s dark skin color

the Defendant Allina made unfounded complaints against the plaintiff. These

mendacious accusations by his white supervisors included false complaints

concerning plaintiff’s work; his assignment by supervisors to perform inappropriate

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duties, giving him jobs while withholding needed assistance to perform them,

withholding proper assistance and then unfairly criticizing him, doing acts to set him

up for failure, giving him a job or task and then changing instructions and/or giving

contradictory directions, failing to heed his warnings while later blaming him for

things he had warned them could be problems and repeated insults and slurs

concerning plaintiff in his presence by supervisors; and assigning him patients that

were known to have strong biases against people of color with skin as dark as

Plaintiff’s.

       177. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

       178. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

       179. The foregoing discrimination against Plaintiff was in violation of 42

U.S.C. § 2000e et seq., as amended.

       180. Plaintiff had to work in a hostile work environment at Allina. The work

environment was hostile based on Fielding race, color, and national origin.

Discrimination was regular, repeated and continual from 2019 through the date of

termination.

       181. Plaintiff a dark skinned person of color while working for Allina was

forced to work in a hostile work environment where his Supervisor subjected

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employees to discrimination based on the dark color of their skin. Further, the

working environment at Allina condoned discrimination, harassment, a lack of

respect for black employees and retaliation.

      182. Plaintiff’s supervisor subjected Fielding to continual and repeated

discrimination, harassment and retaliation based on the dark color of his skin. Under

his supervision, as dark skinned person of color Fielding was required to submit to

conduct or communication by him that was abusive and discriminatory. Submission

or rejection of his supervisor’s abusive conduct was a factor in decisions affecting

Fielding’s employment. His supervisor’s conduct and communications had the

purpose or effect of substantially interfering with Fielding’s employment and

creating an intimidating, hostile and offensive employment environment.

      183. Allina knew of Plaintiff’s Supervisor discrimination, harassment and

retaliation but failed to take timely and appropriate action. His Supervisor’s race,

color, and national origin discrimination and harassment was so pervasive that it

altered the terms, conditions, and privileges of Fielding’s employment and created

an abusive working environment. The supervisor’s conduct of discrimination,

negative remarks, insults, subjecting him to other abusive acts caused Fielding

severe emotional harm.

      184. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

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      185. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      186. Defendant’s discrimination against Fielding was perpetrated because

Fielding was known by defendant to be a dark skinned person of color, a different

color and darker skin than that of his white co-workers. Defendants’ discrimination

was repeatedly and continually abusive and damaging to Fielding. The Defendants

remarks and acts created a hostile work environment. Fielding suffered adverse

employment actions while employed by Allina.

      187. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting race discrimination and not for a legitimate

business reason. The employer did acts that were pre-textual. The employer did not

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supply honest responses to Plaintiff’s concerns for their adverse actions but rather

gave incomplete or inconsistent explanations further proving to Plaintiff that the

employer’s acts were unlawful.

      188. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones the Hospital could create a false accusation

about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

      189. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      190. While employed by Allina Plaintiff was forced to work in a racially

discriminatory work environment where over and over he had to do his job while

being subjected to discrimination, harassment and retaliation. When he tried to

reason with his discriminatory tormentors he was further harassed, discriminated and

retaliated against. Finally, after numerous reports of discrimination, harassment and

retaliation by Plaintiff to Allina it pre-textually fired him. As a result he has

continued to experience anxiety, stress and other long-lasting negative effects from

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the terribly discriminatory, harassing and retaliatory treatment he experienced being

employed by Allina.

      191. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

incurred severe mental and emotional damage.

      192. Defendant’s foregoing discrimination, harassment and retaliation based

on color, was the direct and proximate cause of damage to Plaintiff in excess of

$75,000.

                             THIRD CAUSE OF ACTION

                   AGAINST ALLINA FOR DISCRIMINATION BASED
                ON NATIONAL ORIGIN IN VIOLATION OF TITLE VII OF
               THE CIVIL RIGHTS ACT OF 1964, ET SEQ., AS AMENDED

      193. The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      194. Plaintiff seeks redress for discrimination on account of his National

Origin, specifically, Jamaica, West Indies, in violation of laws the United States in

his capacity as an employee of Allina. He speaks with a noticeable accent signaling

that he was not born in the United States.

      195. While working for Allina Plaintiff experienced discrimination,

harassment and retaliation based on his national origin.

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       196. After Plaintiff filed a complaint with the EEOC, subsequently Allina

further discriminated and retaliated against him including a discriminatory and

retaliatory firing.

       197. The discrimination, harassment and retaliation were so traumatizing

that he tried to block out the horrible discriminatory treatment just to be able to cope.

       198. The work environment at Allina where Plaintiff worked in had both

supervisors and co-workers who were discriminatory and used the discriminatory

and offensive word Nigger that is hereinafter referred elsewhere in this complaint as

the “N” word. Plaintiff was singled out for this treatment because his Caribbean

accent made it clear that he was not born in the United States.

       199. Deb Scott (Plaintiff’s Manager) and Kate Haugen (Plaintiff’s

Supervisor) have referred to Plaintiff on many occasions as “you blacks.” On the

day of his wrongful termination January 16, 2020, Ms. Haugen throughout the

meeting constantly referred to Plaintiff as the “big black dude” which was annotated

on his termination papers.

       200. Plaintiff was sent to Human Resources many times with factious claims

of his inadequate job performance (despite his positive work review), treatment of

patients, generalized comments which have clearly been taken out of context by

coworkers, and exaggerated write ups by management as a means to terminate him.

Mr. Fielding has been employed for Abbott Northwestern Hospital for 13 years, 7+

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years have been on H5200 under the supervision of Deb Scott RN.

           201. The “N” word was used by Brad Bjornson on so many occasions he

has lost count and when he did not use the “N” word, he resorted to “you blacks.”

He viewed and believed his derogatory statements directed to and/or in Plaintiff’s

presence were funny. His behavior worsened between the years 2019 and 2020. All

interactions were reported to Ms. Scott and Ms. Haugen.

           202. Plaintiff was ignored by Ms. Scott and Ms. Haugen every time he

reported Brad Bjornson’s bigotry and racially discriminatory statements. They

would either walk-away when Plaintiff approached them about this or they would

respond by saying “You know Brad, he is only joking.” Plaintiff was speaking with

about 3-4 Nursing Assistants and he believes another Nurse in the hallway when

Brad approached us and asked, “What are you niggers doing in the hallway, you

guys must be with the Bloods or the Crips.”7 Plaintiff reported the incident to Ms.

Scott, but nothing was done. As Brad’s bigoted behavior continued, Plaintiff talked

to other co-workers about the incident, but they were afraid of retaliation and or

being fired altogether. They stated “If you report anyone white they all come after

you, so we are going to keep our mouths shut.” Plaintiff has heard Brad constantly

reporting black Nursing Assistants to the Manager and on many occasions saying,

“all these black Nursing Assistants want to do is sit on their asses, play with their


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    These are violent street gangs.

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phones and internet.”

      203. The management at Allina did not take prompt remedial action to

correct discrimination directed at Plaintiff but instead condoned it.

      204. Every time Plaintiff met with Deb Scott (his Nurse Manager) in Human

Resources (HR), she (Deb) would constantly accuse Plaintiff of being disingenuous

and call his credibility in question while not treating white workers the same way.

She expected Plaintiff to be looked down on, insulted and subservient and would not

allow him to even make a point. On multiple occasions she has said to him,

“Desmond you always have to have the last word, you have no empathy, you are too

direct and you think you know everything.” After one such meeting with HR,

Plaintiff met with Deb Scott in the hallway outside her office door. He asked Ms.

Scott “why do you constantly take me to HR when many complains could be handled

without getting them involved. You really never allow me an opportunity to clarify

any misunderstanding. You always assume that I am in the wrong.” Ms. Scott

responded, “You and many blacks are too direct; you believe you know everything

and you have to get the last word and I am tired of it.” To say that Plaintiff was

taken aback and felt hurt by the discriminatory attitude and approach is an

understatement. He reported the incident to the Louise Jacobs (former Director of

Telemetry). Nothing was done by Ms. Jacobs. All she told Plaintiff was that Ms.

Scott was intimidated by him.

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      205. Ms. Scott constantly ridiculed the fact that Plaintiff worked several

overtime hours. She was always sarcastically asking, “What do you people do with

all that overtime money? I wish that you would stop working so much because you

are affecting my budget.”

      206. Another person who acted discriminatorily was Sandy Schum (H5200-

Assistant Nurse Manager). In 2019, Plaintiff was called and offered an afternoon

shift (3:00pm-11:30 pm). When he arrived at the Nursing Station Sandy was the day

Charge Nurse. She began to berate him by asking, “Why didn’t you answer your

phone?” he responded, “I was on the Freeway and do not answer my phone while I

am driving.” She continued to say, “You blacks don’t listen and you believe you

can get away with everything.” This was observed by other Nurses at the Nursing

Station that were awaiting their assignments. Once they heard the confrontation, they

quickly left the Nursing Station. Plaintiff reported the racial and derogatory

comments to Deb Scott (H5200-Nurse Manager) and Ms. Scott response was “Oh!

She had a bad day with the new Health Unit Coordinator (HUC).” Plaintiff

responded “Deb we all have bad days and he did not deserve being belittled and

racially degraded.

      207. Kris Stiefenhofer (H5200-Assistant Nurse Manager) also acted

discriminatorily toward Plaintiff. On or about August 23, 2017, Plaintiff was

verbally and almost physically assaulted by Kris Stiefenhofer (Charge Nurse).

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Plaintiff spoke to Ms. Scott about Kris’ behavior and her response was, “Maybe he

was having a bad day.” Plaintiff waited for Ms. Scott to address the issue between

Kris and myself but nothing was addressed although there were several witnesses

The incident stemmed from Plaintiff asking Kris for assistance with a sheath pull ( a

short hollow tube in which a catheter is inserted during cardiac catheterization), he

responded with, “You can do it yourself because I always pull by myself.” Plaintiff

stated “that was not the hospital protocol.” He aggressively approached Plaintiff

waving his fist by room 5274 on the Unit and stated, “Didn’t I tell you, boy, to pull

it by yourself!” His use of the word “boy” was discriminatory.

      208. On or about August 24, 2017, Plaintiff called Security to report the

incident between Kris and him. Plaintiff met with Sgt S. Feeg in ANW Lobby. Sgt.

Feeg informed me, “I can file a report but, if I do, it only stays with this office.” He

asked if Plaintiff spoke with his Manager and he explained that he did but nothing

was done. No report was filed and the issue with Kris remained unresolved.

      209. While employed by Defendant, Plaintiff was subjected to numerous

discriminatory co-workers.

                             Discriminatory Co-Workers

      210. In 2019, while working a Friday afternoon shift (11:00-2330) Plaintiff

picked-up one of RN Kim Isenhower’s patients from the morning shift (Rm 5274).

He believed this patient presented to the hospital for transaortic valve replacement

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(TAVR) and hypertension. After reviewing the patient’s medication administration

record (MAR) Plaintiff noticed that Kim had missed and re-scheduled several of the

patient’s critical cardiac medications. Metoprolol was due at 6:00 pm was re-

scheduled to a different time. Because the patient missed his scheduled Metoprolol,

he became tachycardiac (heart rate 120-140) and the Rapid response team had to be

called. He notified the Charge Nurse of the incident. The next morning (Saturday)

he attempted to have a cordial conversation with Kim about why she had re-

scheduled such a critical cardiac medication and the adverse impact from her actions.

She stated, “I did not reschedule the medication.” She left the floor upset and went

to the Break Room. Plaintiff was outside rooms 5286, 5288 on the Unit and Kim

confronted Plaintiff by stating, “You blacks and niggers think you are so smart and

know everything.” The incident was reported to Plaintiff’s Manager Deb Scott, but

she dismissed his complaint by saying, “Kim wouldn’t do something like that.”

      211. In 2018, during an afternoon shift (3:00 pm-11:30 pm) Plaintiff picked

up a patient from Wendy Hagland, RN, who was the day Nurse. After reviewing the

patient’s chart, he noticed that the patient´s morning potassium was abnormally low

and no potassium protocol was ran by Wendy. He asked her why the potassium

protocol wasn’t ran because the potassium lab values were posted at approx. 5:30

am that morning and cardiac patients need potassium replacement immediately after

the lab values are posted.” She referred to him as, “You blacks seem to think you

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know everything.” Plaintiff asked her “what she meant by “you blacks” ? The

incident was reported to his Manager, Deb Scott but she just ignored Plaintiff and

dismissed the incident.

      212. In March of 2019 at the E3100 Nursing Station, Plaintiff floated to

E3100 for 4 hours (11:00 am-3:00 pm). When he arrived at the Nursing Station for

his patient assignment, the Charge Nurse stated “you must be that black nurse that

is floating here.”

                           PATIENTS’ RACIAL COMMENTS

      213. On election night in 2016 Plaintiff, was assigned two male Caucasian

patients (Room 5254 and 5264). When he entered one patient’s room (Room 5254)

the patient began to inquire about what country he was from and if he was a real

Nurse and then stated, “I don’t want any male Nigger Nurse taking care of me.”

Plaintiff reported this to the Charge Nurse who stated that she couldn’t change his

assignment.

      214. The patient (Rm 5264) was watching the 2016 presidential election.

When Plaintiff entered the room, he gave a strange look, this was concerning because

he had just come from room 5254 where that patient had called him “nigger.” The

patient opened with, “I am sure you “niggers” want Hillary to win, so you, guy,

can get a free ride.” The next day Plaintiff addressed the patients’ behaviors and the

bigotry Plaintiff endured the night before to his Manager, Ms. Deb Scott. He asked

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her for a follow-up meeting about the racial incidents, but never received one.

                   ONGOING DISCRIMINATION AND RETALIATION

      215. The bigotry and racial name calling continued, so Plaintiff felt

increasingly uncomfortable about reporting them to his Manager Deb Scott, Kate

Haugen, Supervisor and HR because when he did, he was retaliated against by his

co-workers who falsified reports to the HR “integrity line.” Plaintiff was repeatedly

taken to HR (approximately 20-25 times) and told, “You are lying and not credible.”

      216. After numerous reports by Plaintiff to Allina regarding the ongoing

discrimination a phony complaint about him was cooked up in order to justify firing

him. On January 16, 2020, he was falsely accused of abusing a patient because he

gave his liquid feeding via gravity method (per documented doctor’s order).

      217. This was proven to be false not only by the medical records but a

finding that Plaintiff had done nothing unethical by the Nursing Board.

      218. Plaintiff was wrongfully terminated by Kate Haugen (Supervisor)

during the meeting with HR. Ms. Haugen referred to him as a “big black dude.”

Throughout the meeting she kept calling him “the big black dude.” She stated “I

can’t’ believe a “big black dude” would hurt our patients.” Plaintiff eventually

addressed this by stating, “I didn’t know I was a “big black dude”.

      219. In or around December 2019, Mr. Fielding cared for an inpatient with

a history of esophageal cancer. It was known the patient was ambulatory and

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independently eating orally and being supplementally fed via a G-tube. There are

generally three ways to feed a patient via a G-tube. The discriminatory hostility

against a black person born in a different country was clearly shown by Allina.

      220. There are generally three ways to feed a patient via a G-tube. 1) bolus

feeding by syringe -this is performed by gravity, by pouring the formula into the

syringe; 2) bolus feeding by syringe- pushing feeding using a plunger to push the

formula into a syringe and 3) feeding formula via a feeding pump which is more

similar to that of an IV pump.

      221. Upon reviewing the order later after the feeding was completed, the

resident MD had changed the order to pump feeding. Knowing the hospital’s policy

on G-tube feedings and the order of the attending and corresponding dietician, Mr.

Fielding proceeded with the physicians’ order.

      222. The Abbott Northwestern Enteral Nutrition Feeding Procedure policy

and procedure guideline reference #MS0088 clearly states under DEFINITIONS:

Bolus infusion (syringe or bag) a larger volume given over several minutes. Bolus

tube feedings should be with a gastrostomy placed tube or commonly known as a

“G-tube.” If the patient has a jejunal tube or commonly known as a “J-tube”,

feedings should be infused by feeding pump. This policy was recently approved on

8/20/2019 by the Nutrition Committee and 9/4/2019 by the Policy and Procedure

Committee.

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      223. According to the guidelines for enteral feeding in adult hospital patients

by Stroud, Duncan & Nightingale (2003), decisions on route, content, and

management of nutritional support are best made by multidisciplinary nutrition

teams (Grade A evidence). In this particular case, this is why the attending MD and

dietician wrote the original order for the bolus gravity fed order. A resident physician

who is still in the learning process would not have likely known the specialized

process of parenteral and enteral nutrition, thus changing the order without weighing

the evidence-based guidelines. Mr. Fielding followed the employer’s appropriate

procedure and his employer falsely accused him of not doing so pretextually as a

basis to wrongly penalize him.

                     REPEATED THEME AT ALLINA THAT BLACK
                       PEOPLE SHOULD RETURN TO AFRICA

      224. Sometime in 2018-2019 Plaintiff was caring for an alert and oriented

male patient in Room 5288, the patient called for assistance to use his urinal and

respiratory care. This occurred approximately 11:20 pm during the change of shift,

so the incoming Nurse (Maria Fulton), Plaintiff, Nursing Assistant and the

Respiratory Therapist entered the patient’s room. The Nursing Assistant setup the

patient’s urinal, while the incoming Nurse and Plaintiff conducted a bedside report

and the Respiratory Therapist setup for the respiratory treatment. The patient missed

the urinal, so the Nursing Assistant and Plaintiff had to change his bedding and

clothing. While we were doing his care, he stated, “I am tired of you colored people
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taking care of me and you people need to go back to Africa.” This was witnessed by

Maria Fulton, the Nursing Assistant and the Respiratory Therapist. This was

electronically documented and reported to Ms. Scott. In his Allina medical record

this patient had a documented history of bigotry, rudeness and racial bias against

people of color. Plaintiff’s Charge Nurse (Kris S) was aware of this patient’s

established behavior, but Plaintiff was still assigned this patient knowing his racial

bias towards people of color.

      225. Plaintiff worked with RN Tim Soboleski (H4000) when he floated to

H5200 Nursing Unit. While Soboleski was there Plaintiff heard him constantly

making racial and derogatory comments about black co-workers and patients.

Plaintiff observed him being condescending to African American Nursing Assistants

by calling them “hey you, these black Aides are so lazy and all they want to do is

sit on their black asses and I wish they all go back to Africa.” He has also

commented “that the hospital shouldn’t admit these black patients.

      226. - Plaintiff overheard Shelia (Float Pool Nurse) make comments about

black patients such as “just another black patient in the room, they are so rude and

I dislike having black patients on my assignment list and wish they would go back to

their home country”

      227. In March 2019, Plaintiff floated to Nursing Unit E3100 for (4) hours

(11:00 am-3:00 pm). After receiving his assignment, he noticed that one of his

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patients was a female and Muslim. He asked the Charge Nurse about male Nurses

caring for Muslim women. The Charge Nurse response was “she is not Muslim, just

another black Ethiopian patient.”

               RACIALLY DISCRIMINATORY ENVIRONMENT AT ALLINA
                EXAMPLES OF PREFERENTIAL TREATMENT ON H5200

      228. If you are a person of color who was not born in the United States

attending college and have a conflict with your class schedule and work, it is unlikely

that Ms. Scott would intervene and adjust your work schedule. However, other white

workers will have their work schedule modified to accommodate. There are several

Caucasian staff on H5200 receiving these privileges.

      229. If you are African American seeking to modify your working hours

(FTE) you are unlikely to have your request granted.

      230. White smokers are treated differently than black smokers. There are

several White Smokers on H5200 that have multiple breaks and unaccountable

absences from the Unit and Abbott campus throughout their shifts and not being

addressed, but this was not the same treatment that was observed by Plaintiff for

black workers.

      231. White supervisors are allowed to abuse people that are black because

of their national origin, whereas these same white supervisors act differently and

better to white workers. In September 2017 there was an altercation caused by Kris

Stiefenhofer (now second shift Charge Nurse) and myself. This discrimination by
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him occurred when Plaintiff requested help (sheath pull) from him. Kris was verbally

aggressive and almost physically attacked me. Plaintiff reported the incident to Ms.

Scott and she respond with “oh, he must have had a bad day.” Ms. Scott response

was very disheartening and Plaintiff felt that as his Manager she should have done

more to protect him. Kris Stiefenhofer as a Charge Nurse was never disciplined for

his actions. Had the roles been reversed Plaintiff would have been brought to Human

Resources, given a reprimand and possibly terminated.

         232. African Americans are least recognized for their care giving efforts on

H5200. For example, a month ago Zoe Hoffman (African American), nursing

assistant and Plaintiff were caring for a fresh CV patient. Zoe entered the patient’s

room and found the patient unresponsive. We activated Code Blue and revived the

patient who was later transferred to the CV ICU. Plaintiff wrote Zoe a Care Award

for her observation skill which saved the patient’s life. Fielding informed Ms. Scott

of Zoe’s care giving effort and stated “it would mean a lot if the Manager would

recognize her for what she did.” Zoe never received an acknowledgment from Ms.

Scott.

         233. Medication errors are tolerated by white workers, but not when thought

to be made by black people thought to be of African origin.       There are habitual

medication errors being made by select nurses, but no “coaching,” verbal or writing

reprimands are given by Ms. Scott. These nurses keep making the same medication

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errors which places patients at risk.

      234. Racially discriminatory comments and treatment based on national

origin are acceptable behavior at Allina. Plaintiff was frequently subjected to

derogatory comments on H5200 such as “you colored people, you blacks and you

must be my nursing assistant.” Plaintiff has brought these issues to Ms. Scott but no

prompt remedial action was taken to correct the situation.

            DISCRIMINATORY AND NEGATIVE ASSIGNMENTS AT ALLINA

      235. Plaintiff was routinely assigned patients with extreme behavioral issues

by the Assistant Nurse Managers and fill-in Charge Nurses who included: Sandy

Schum (1st shift Assistant Nurse Manager), Jean (Former 2nd shift Assistant Nurse

Manager), Bruce Bird (Former 3rd shift Assistant Nurse Manager), Kris Stiefenhofer

(2nd shift Assistant Nurse Manager). He frequently encountered patient care

challenges with these patients and sometimes sought guidance and requested

assistance from the Assistant Nurse Managers and fill-in Charge Nurses. These

requests were more often than not rebuffed and ignored and no support was given to

his patient plan of care actions. Plaintiff observed that his patient assignments

usually consisted of mostly African American patients based on stereotyping. The

Charge Nurses claim, “They’re your people so you should better understand them.”

      236. During the course of plaintiff’s employment defendant maintained a

race discriminatory attitude toward plaintiff. He observed that the defendant had

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unlawful prejudice and bias for people of the black race. Based on this unlawful

prejudice the Allina discriminatorily treated plaintiff because he was of the black

race. He was treated differently and worse than people of the white race. The

standards expected of him were far different and more difficult to achieve because

he was of the black race. Defendant subjected plaintiff to discriminatory treatment

that harmed his ability to work, penalized him, held him back for promotions and

subjected him to abuse because he was of the black race.

      237. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of racial prejudice of the defendant.

Allina discriminatorily withheld promotions from Plaintiff due to the forgoing

prejudice.

      238. Defendant Allina discriminated against plaintiff an employee of

African origin born in another country with respect to conditions, privileges,

advantages and benefits of employment with defendant specifically defendant

maintained a separate unlawful prejudicial attitude towards African-Americans and

denied plaintiff a black employee the opportunity of obtaining better conditions of

employment, the design, intent, purpose and effect being to continue and preserve

defendant’s long-standing policy, practice, custom and usage of limiting the

employment and promotional opportunities of black employees of the defendant

because of his race.

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      239. While employed by Allina in 2019 and 2020 the Defendant repeatedly

and continually applied discriminatory attitude toward plaintiff because of his

national origin. He observed that the defendant had unlawful prejudice and bias

against people who, like him, were born in a foreign country. Based on this unlawful

prejudice toward people born in another country. Allina discriminatorily treated

plaintiff. He was treated differently and worse than people who were white. The

standards expected of him were far different and more difficult to achieve because

of his national origin. Defendant subjected plaintiff to discriminatory treatment that

harmed his ability to work, penalized him, held him back for promotions and

subjected him to abuse because of his national origin.

      240. During the time period of 2019 and 2020 the Defendant repeatedly and

continually applied discriminatory approached directed at plaintiff based on his

national origin. Defendant showed discriminatory hostility because of his having

African and Jamaica, West Indies ancestry. He observed that the defendant had

unlawful prejudice and bias for people who were African American or black and

boron in a foreign country. Allina discriminatorily treated plaintiff based on its

unlawful prejudice toward African Americans and foreign born persons of color. He

was treated differently and worse than people who did not have African American

ancestry. The standards expected of him as a person with a national origin of being

African American were far different and more difficult to achieve than those who

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had European ancestry. Defendant subjected plaintiff to discriminatory treatment

that harmed his ability to work, penalized him, held him back for promotions and

subjected him to abuse because of his national origin.

      241. Defendant followed a policy and practice of discrimination in

employment against Blacks on account of their race. Under such policy and practice

defendant Allina through its agents and employees repeatedly harassed,

discriminated and retaliated against plaintiff because he attempted to obtain equal

opportunity employment for himself and because he filed the aforementioned

charges of discrimination with the equal employment opportunity commission

      242. During the time plaintiff was employed by defendant Allina said

defendant discriminated against plaintiff with respect to the terms, conditions and

privileges of employment because of plaintiff’s race and color in violation of section

Title VII of the Civil Rights Act of 1964, et seq., as amended.

      243. The aforementioned discrimination consisted of dissimilar treatment

for Plaintiff from his co-workers who were white. Based on such race, color and

national origin the Defendant Allina made unfounded complaints against the

plaintiff. These mendacious accusations by his white supervisors included false

complaints concerning plaintiff’s work; his assignment by supervisors to perform

inappropriate duties, giving him jobs while withholding needed assistance to

perform them, withholding proper assistance and then unfairly criticizing him, doing

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acts to set him up for failure, giving him a job or task and then changing instructions

and/or giving contradictory directions, failing to heed his warnings while later

blaming him for things he had warned them could be problems and repeated insults

and slurs concerning plaintiff in his presence by supervisors.

      244. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

      245. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

      246. The forgoing discrimination against Plaintiff was in violation of 42

U.S.C. § 2000e et seq., as amended.

      247. Plaintiff had to work in a hostile work environment at Allina. The work

environment was hostile based on Fielding’s national origin. Discrimination was

regular, repeated and continual from 2019 through the date of termination.

      248. Plaintiff a person of African descent born in Jamaica, West Indies,

while working for Allina was forced to work in a hostile work environment where

his Supervisor subjected employees to discrimination based national origin. Further,

the working environment at Allina condoned discrimination, harassment, a lack of

respect for foreign born employees and retaliation.

      249. Plaintiff’s supervisor subjected Fielding to continual and repeated

discrimination, harassment and retaliation based on his national origin. Under his

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supervision, as an African American person Fielding was required to submit to

conduct or communication by him that was abusive and discriminatory. Submission

or rejection of his supervisor’s abusive conduct was a factor in decisions affecting

Fielding’s employment. His supervisor’s conduct and communications had the

purpose or effect of substantially interfering with Fielding’s employment and

creating an intimidating, hostile and offensive employment environment.

      250.    Allina knew of Plaintiff’s Supervisor discrimination, harassment and

retaliation but failed to take timely and appropriate action.        His Supervisor’s

discrimination, harassment, and retaliation based on Plaintiff’s national origin was

so pervasive that it altered the terms, conditions, and privileges of Fielding’s

employment and created an abusive working environment.               The supervisor’s

conduct of discrimination, negative remarks, insults, subjecting him to other abusive

acts caused Fielding severe emotional harm.

      251. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

      252. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

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Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      253. Defendant’s discrimination against Fielding was perpetrated because

Fielding was known by defendant to have been born in a foreign country.

Defendants’ discrimination was repeatedly and continually abusive and damaging to

Fielding. The Defendants remarks and acts created a hostile work environment.

Fielding suffered adverse employment actions while employed by Allina.

      254. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting race discrimination and not for a legitimate

business reason. The employer did acts that were pre-textual. The employer did not

supply honest responses to Plaintiff’s concerns for their adverse actions but rather

gave incomplete or inconsistent explanations further proving to Plaintiff that the

employer’s acts were unlawful.

      255. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones the Hospital could create a false accusation

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about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

      256. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      257. While employed by Allina Plaintiff was forced to work in a xenophobic

racially discriminatory work environment that was hostile to foreign born employees

of color where over and over he had to do his job while being subjected to

discrimination, harassment and retaliation.      When he tried to reason with his

discriminatory tormentors he was further harassed, discriminated and retaliated

against.   Finally, after numerous reports of discrimination, harassment and

retaliation by Plaintiff to Allina it pre-textually fired me. As a result he has

continued to experience anxiety, stress and other long-lasting negative effects from

the terribly discriminatory, harassing and retaliatory treatment he experienced being

employed by Allina.

      258. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

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incurred severe mental and emotional damage.

      259. Defendant’s foregoing discrimination, harassment and retaliation based

on his national origin was the direct and proximate cause of damage to Plaintiff in

excess of $75,000.

                            MINNESOTA STATE CLAIMS

                              FOURTH CAUSE OF ACTION

               AGAINST DEFENDANT ALLINA FOR DISCRIMINATION
             BASED ON RACE IN VIOLATION OF MINN. STAT. §363A.08

      260. The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      261. Plaintiff was employed by Allina from on or about June 2007 until

Allina wrongfully pretextually terminated him on January 16, 2020.

      262. Plaintiff was born in Jamaica, West Indies and seeks redress for

discrimination on account of his race (African descent) in violation of Minnesota

anti-discrimination law as set forth in Minn. Stat. § 363A.08, et seq., as amended.

      263. Plaintiff Desmond Fielding is a black man who was born in Jamaica,

West Indies. He is a naturalized citizen of the United States and the state of

Minnesota residing at in the City of Coon Rapids, in the County of Anoka.

      264. The unlawful employment practices, harassment discrimination and

retaliation based on race alleged herein were committed within the state of

Minnesota within 365 days of his filing a charge with the EEOC.
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      265. During the course of plaintiff’s employment defendant maintained a

racially discriminatory attitude toward plaintiff. He observed that the defendant had

unlawful prejudice and bias against people of the black race.

      266. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of the unlawful racial prejudice of the

defendant. Allina discriminatorily withheld promotions from Plaintiff due to the

foregoing prejudice.

      267. Defendant Allina discriminated against plaintiff a black employee with

respect to conditions, privileges, advantages and benefits of employment with

defendant specifically defendant maintained a separate unlawful prejudicial attitude

towards African-Americans and denied plaintiff a black employee the opportunity

of obtaining better conditions of employment, the design, intent, purpose and effect

being to continue and preserve defendant’s long-standing policy, practice, custom

and usage of limiting the employment and promotional opportunities of black

employees of the defendant because of his race.

      268. The aforementioned discrimination consisted of dissimilar treatment

for Plaintiff from his co-workers who were white. Based on his race the Defendant

Allina made unfounded complaints against the plaintiff.          These mendacious

accusations by his white supervisors included false complaints concerning plaintiff’s

work; his assignment by supervisors to perform inappropriate duties, giving him jobs

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while withholding needed assistance to perform them, withholding proper assistance

and then unfairly criticizing him, doing acts to set him up for failure, giving him a

job or task and then changing instructions and/or giving contradictory directions,

failing to heed his warnings while later blaming him for things he had warned them

could be problems and repeated insults and slurs concerning plaintiff in his presence

by supervisors.

      269. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

      270. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

      271. The forgoing discrimination against Plaintiff was in violation of Minn.

Stat. § 363A.08, et seq., as amended.

      272. Plaintiff’s supervisor subjected Fielding to continual and repeated

discrimination, harassment and retaliation based on his race. As black person

Fielding was required to submit to conduct or communication by him that was

abusive and discriminatory based on his black race. Submission or rejection of his

supervisor’s abusive conduct was a factor in decisions affecting Fielding’s

employment. His supervisor’s conduct and communications had the purpose or

effect of substantially interfering with Fielding’s employment and creating an

intimidating, hostile and offensive employment environment.

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      273. Allina knew of Plaintiff’s Supervisor discrimination, harassment and

retaliation but failed to take timely and appropriate action. His Supervisor’s race

discrimination, harassment and retaliation was so pervasive that it altered the terms,

conditions, and privileges of Fielding’s employment and created an abusive working

environment. The supervisor’s conduct of discrimination, negative remarks, insults,

subjecting him to other abusive acts caused Fielding severe emotional harm.

      274. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

      275. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      276. Defendant’s discrimination against Fielding was perpetrated because

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Fielding was of the black race. Defendants’ discrimination was repeatedly and

continually abusive and damaging to Fielding. The Defendants remarks and acts

created a hostile work environment.

      277. Desmond Fielding suffered adverse employment actions while

employed by Allina.

      278. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting race discrimination and not for a legitimate

business reason. The employer did acts that were pre-textual. The employer did not

supply honest responses to Plaintiff’s concerns for their adverse actions but rather

gave incomplete or inconsistent explanations further proving to Plaintiff that the

employer’s acts were unlawful.

      279. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones that would allow it to create a false accusation

about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

      280. Not only did Allina unjustly terminate Mr. Fielding they reported him

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to the Minnesota Board of Nursing for the events that occurred while employed at

Allina for “nurse practice situations.”    The board determined “no actions were

warranted” agreeing Mr. Fielding did not act inappropriately as management

claimed he did.

      281. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      282. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

incurred severe mental and emotional damage.

      283. Defendant’s foregoing discrimination harassment, and retaliation based

on Plaintiff’s race was the direct and proximate cause of damage to Plaintiff in

excess of $75,000.

                               FIFTH CAUSE OF ACTION

                AGAINST DEFENDANT ALLINA FOR DISCRIMINATION
             BASED ON COLOR IN VIOLATION OF MINN. STAT. §363A.08

      284. The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      285. Plaintiff was employed by Allina from on or about June 2007 until

Allina wrongfully pretextually terminated him on January 16, 2020.

      286. Plaintiff is a person of color and seeks redress for discrimination on
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account of his dark skin color in violation of Minnesota anti-discrimination law as

set forth in Minn. Stat. § 363A.08, et seq., as amended.

      287. Plaintiff Desmond Fielding is a person of color who is a citizen of the

United States and the state of Minnesota residing at in the City of Coon Rapids, in

the County of Anoka.

      288. The unlawful employment practices, harassment discrimination and

retaliation alleged herein were committed within the state of Minnesota within 365

days of his filing a charge with the EEOC.

      289. During the course of plaintiff’s employment defendant maintained a

discriminatory attitude toward plaintiff because he is a person of color. He observed

that the defendant had unlawful prejudice and bias against people of color.

      290. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of unlawful racial prejudice of the

defendant. Allina discriminatorily withheld promotions from Plaintiff due to the

forgoing prejudice.

      291. Defendant Allina discriminated against plaintiff a black employee with

respect to conditions, privileges, advantages and benefits of employment with

defendant specifically defendant maintained a separate unlawful prejudicial attitude

towards people of color and denied plaintiff, ap person of color, the opportunity of

obtaining better conditions of employment, the design, intent, purpose and effect

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being to continue and preserve defendant’s long-standing policy, practice, custom

and usage of limiting the employment and promotional opportunities of Plaintiff

because of his dark skin color.

      292. The aforementioned discrimination consisted of dissimilar treatment

for Plaintiff from his co-workers who were white. Based his dark skin color

Defendant Allina made unfounded complaints against the plaintiff.              These

mendacious accusations by his white supervisors included false complaints

concerning plaintiff’s work; his assignment by supervisors to perform inappropriate

duties, giving him jobs while withholding needed assistance to perform them,

withholding proper assistance and then unfairly criticizing him, doing acts to set him

up for failure, giving him a job or task and then changing instructions and/or giving

contradictory directions, failing to heed his warnings while later blaming him for

things he had warned them could be problems and repeated insults and slurs

concerning plaintiff in his presence by supervisors.

      293. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

      294. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

      295. The forgoing discrimination against Plaintiff was in violation of Minn.

Stat. § 363A.08, et seq., as amended.

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      296. Plaintiff’s supervisor subjected Fielding to continual and repeated

discrimination, harassment and retaliation based on his dark skin color. As person

of color Fielding was required to submit to conduct or communication by him that

was abusive and discriminatory based on his having dark skin. Submission or

rejection of his supervisor’s abusive conduct was a factor in decisions affecting

Fielding’s employment. His supervisor’s conduct and communications had the

purpose or effect of substantially interfering with Fielding’s employment and

creating an intimidating, hostile and offensive employment environment.

      297. Allina knew of Plaintiff’s Supervisor discrimination, harassment and

retaliation but failed to take timely and appropriate action.        His Supervisor’s

discrimination, harassment, and retaliation based on his dark skin color was so

pervasive that it altered the terms, conditions, and privileges of Fielding’s

employment and created an abusive working environment.               The supervisor’s

conduct of discrimination, negative remarks, insults, subjecting him to other abusive

acts caused Fielding severe emotional harm.

      298. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

      299. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

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proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      300. Defendant’s discrimination against Fielding was perpetrated because

Fielding was known by defendant to have a dark color of skin from his white co-

workers and have ancestors of an African national origin.                 Defendants’

discrimination was repeatedly and continually abusive and damaging to Fielding.

The Defendants remarks and acts created a hostile work environment.

      301. Desmond Fielding suffered adverse employment actions while

employed by Allina.

      302. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting race discrimination and not for a legitimate

business reason. The employer did acts that were pre-textual. The employer did not

supply honest responses to Plaintiff’s concerns for their adverse actions but rather

gave incomplete or inconsistent explanations further proving to Plaintiff that the

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employer’s acts were unlawful.

      303. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones that would allow it to create a false accusation

about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

      304. Not only did Allina unjustly terminate Mr. Fielding they reported him

to the Minnesota Board of Nursing for the events that occurred while employed at

Allina for “nurse practice situations.”     The board determined “no actions were

warranted” agreeing Mr. Fielding did not act inappropriately as management

claimed he did.

      305. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      306. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

incurred severe mental and emotional damage.

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      307. Defendant’s foregoing discrimination, harassment and retaliation based

on Plaintiff’s color was the direct and proximate cause of damage to Plaintiff in

excess of $75,000.

                               Sixth Cause of Action

               AGAINST DEFENDANT ALLINA FOR DISCRIMINATION
             BASED ON RACE IN VIOLATION OF MINN. STAT. §363A.08

      308. The Plaintiff re-alleges the previous paragraphs of this complaint that

are incorporated herein by reference and are set forth herein.

      309. Plaintiff was employed by Allina from on or about June 2007 until

Allina wrongfully pretextually terminated him on January 16, 2020.

      310. Plaintiff is a naturalized U.S. citizen born in Jamaica, West Indies and

seeks redress for discrimination on account of his national origin (Jamaica, West

Indies), n violation of Minnesota anti-discrimination law as set forth in Minn. Stat.

§ 363A.08, et seq., as amended.

      311. Plaintiff Desmond Fielding is a naturalized U.S. citizen residing at in

the City of Coon Rapids, in the County of Anoka, within the state of Minnesota.

      312. The unlawful employment practices, harassment discrimination and

retaliation alleged herein were committed within the state of Minnesota within 365

days of his filing a charge with the EEOC.

      313. During the course of plaintiff’s employment defendant maintained a

discriminatory attitude toward plaintiff because of his national origin. He observed
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that the defendant had unlawful prejudice and bias against people of a different

national origin.

      314. Despite plaintiff’s knowledge and excellent performance, he was not

allowed to move upward in his career because of unlawful prejudice based on his

national origin by the defendant. Allina discriminatorily withheld promotions from

Plaintiff due to the forgoing prejudice.

      315. Defendant Allina discriminated against plaintiff a black employee with

respect to conditions, privileges, advantages and benefits of employment with

defendant specifically defendant maintained a separate unlawful prejudicial attitude

towards Plaintiff based on his national origin and denied him the opportunity of

obtaining better conditions of employment, the design, intent, purpose and effect

being to continue and preserve defendant’s long-standing policy, practice, custom

and usage of limiting the employment and promotional opportunities of black

employees of the defendant because his national origin

      316. The aforementioned discrimination consisted of dissimilar treatment

for Plaintiff from his co-workers who were white. Based on such national origin the

Defendant Allina made unfounded complaints against the plaintiff.            These

mendacious accusations by his white supervisors included false complaints

concerning plaintiff’s work; his assignment by supervisors to perform inappropriate

duties, giving him jobs while withholding needed assistance to perform them,

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withholding proper assistance and then unfairly criticizing him, doing acts to set him

up for failure, giving him a job or task and then changing instructions and/or giving

contradictory directions, failing to heed his warnings while later blaming him for

things he had warned them could be problems and repeated insults and slurs

concerning plaintiff in his presence by supervisors.

      317. By reason of such unlawful discriminatory treatment and false

allegations of misconduct plaintiff was terminated by defendant.

      318. The unlawful discrimination against plaintiff continued from late 2019

into 2020.

      319. The forgoing discrimination against Plaintiff was in violation of Minn.

Stat. § 363A.08, et seq., as amended.

      320. Plaintiff’s supervisor subjected Fielding to continual and repeated

discrimination, harassment and retaliation based on his race. As foreign born person

Fielding was required to submit to conduct or communication by him that was

abusive and discriminatory based on his national origin. Submission or rejection of

his supervisor’s abusive conduct was a factor in decisions affecting Fielding’s

employment. His supervisor’s conduct and communications had the purpose or

effect of substantially interfering with Fielding’s employment and creating an

intimidating, hostile and offensive employment environment.

      321. Allina knew of Plaintiff’s Supervisor discrimination, harassment and

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retaliation but failed to take timely and appropriate action.        His Supervisor’s

discrimination, harassment, and retaliation based on Plaintiff’s national origin was

so pervasive that it altered the terms, conditions, and privileges of Fielding’s

employment and created an abusive working environment.               The supervisor’s

conduct of discrimination, negative remarks, insults, subjecting him to other abusive

acts caused Fielding severe emotional harm.

      322. A Human Resource Supervisor was aware of the supervisor’s

discrimination, harassment and unsafe attitude and condoned it.

      323. Allina had the ability to carefully scrutinize supervisors such as those

that supervised Plaintiff but did not do so.        Even though it knew about the

discrimination, harassment and retaliation against the Plaintiff, Allina refused to take

proper steps to protect its employee Desmond Fielding from it. To the contrary

Allina condoned Supervisor’s abusive acts that made Fielding suffer. It used its

Human Resources personnel as an instrument for oppression and retaliation against

employees. The Human Resource person that was supposed to be looking into

Plaintiff’s concerns about the discriminatory treatment toward him instead condoned

discrimination against Fielding and took no positive steps to end discrimination

directed at Fielding. Human Resources attitude toward Plaintiff was demeaning,

abusive and discriminatory.

      324. Defendant’s discrimination against Fielding was perpetrated because

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Fielding was known by defendant to have been born outside of the United States.

Defendants’ discrimination was repeatedly and continually abusive and damaging to

Fielding. The Defendants remarks and acts created a hostile work environment.

      325. Desmond Fielding suffered adverse employment actions while

employed by Allina.

      326. Plaintiff’s employer took adverse employment actions against him out

of retaliation for resisting and reporting discrimination, harassment and retaliation

based on his national origin and not for a legitimate business reason. The employer

did acts that were pre-textual. The employer did not supply honest responses to

Plaintiff’s concerns for their adverse actions but rather gave incomplete or

inconsistent explanations further proving to Plaintiff that the employer’s acts were

unlawful.

      327. The Defendant’s foregoing retaliation against Plaintiff included

wrongfully disciplining, abusing, insulting, keeping him from being promoted,

giving him jobs that it knew were ones that would allow it to create a false accusation

about his performance, overly scrutinizing, trying to set up for failure, and engaging

in acts calculated to cause Plaintiff pain and suffering, retaliating against,

threatening, penalizing, and ultimately terminating Plaintiff. The retaliation affected

the Plaintiff’s compensation, chances for promotion, terms, conditions, location,

privileges of employment and job status.

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      328. Not only did Allina unjustly terminate Mr. Fielding they reported him

to the Minnesota Board of Nursing for the events that occurred while employed at

Allina for “nurse practice situations.”      The board determined “no actions were

warranted” agreeing Mr. Fielding did not act inappropriately as management

claimed he did.

      329. Allina wrongly retaliated against Plaintiff culminating in the wrongful

and pretextual termination of Plaintiff’s employment on January 16, 2020.

      330. As a direct and proximate result of Defendant’s treatment of him,

Fielding sustained damages in the form of loss of opportunity for advancement, lost

income, lost profits, and reputation through the present date. Further, Fielding

incurred severe mental and emotional damage.

      331. Defendant’s foregoing discrimination, harassment and retaliation based

on his national origin was the direct and proximate cause of damage to Plaintiff in

excess of $75,000.

                             SEVENTH CAUSE OF ACTION

                     INTERFERENCE WITH ECONOMIC ADVANTAGE
                              BY ALLINA DEFENDANT

      332. The foregoing paragraphs are re-alleged as set forth above and are

incorporated herein by reference.

      333. The elements of tortious interference with economic advantage are as follows:



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            a.     The existence of a reasonable expectation of economic

                   advantage;

            b.     The Defendant’s knowledge of that expectation of economic

                   advantage;

            c.     That the Defendant intentionally interfered with the Plaintiff’s

                   reasonable expectation of economic advantage, and the

                   intentional interference with either independently tortious or in

                   violation of a state or federal statute or regulation;

            d.     That in the absence of the wrongful act of the defendant it is

                   reasonably probable that the Plaintiff would have realized and

                   economic advantage or benefit; and

            e.     That the Plaintiff sustained damages.


      334. Allina is responsible for its supervisors, manager, charge nurses, head

nurses and other employees because of Respondeat Superior.

      335. Allina with the aid of its employees, agents, managers, supervisors,

charge Nurses, head nurses and other employees Allina intentionally did acts to

interfere with Plaintiff economic advantage.

      336. Allina made false accusations against Plaintiff and placed or had placed

damaging documents in Plaintiff’s employment file to induce or otherwise cause a

third person employer from being interested in hiring Plaintiff.            Defendant’s
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intentional acts caused damage that could prevent Plaintiff from acquiring or

continuing the prospective relation.

      337. Allina intentionally interfered with the economic advantage of Plaintiff.

It knew the importance of Plaintiff maintaining a good reputation as Registered

Nurse and the need not to have false allegations related to him in the employment

file. Allina knew that it is common in the medical industry for a prospective

employer to ask an applicant to sign a consent form so it could review his previous

employment files and that if the employment file had write ups or corrective actions

or other criticisms the employee would not likely be hired and therefore rendered

unemployable. By doing this he would in affect cause a blackballing of Plaintiff

from future employment in the medical industry. Allina did the foregoing acts to

intentionally ruin Plaintiff’s career and to make him unemployable to a prospective

employer.

      338. Allina after wrongfully terminating Plaintiff intentionally with malice

made false claims about him to a governmental or self-regulatory agency.

      339. Allina’s conduct toward Plaintiff was different and more negative than

to other employees of it. Allina gave white employees different and better treatment

than Plaintiff who is of African-American descent.        Allina’s acts were done

intentionally and with malice to harm the Plaintiffs economic advantage to among

other things set her up for failure so he would either quit or give it a pre-textual

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reason for firing him which would destroy his economic advantage. Further, Allina

put false things in his file in order to create a situation so that a future employer who

wanted to look at his employment file would not hire him after reading the false

information put in his file by it. Allina’s actions were without justification and

greatly damaged Plaintiff economic advantage.

        340. Plaintiff had a reasonable expectation of economic advantage of getting

hired by another public agency or private organization which has been severely

damaged by Allina.

        341. Defendant intentionally and maliciously made false accusations against

Plaintiff and took damaging actions against him that could make a potential

employer fail to either hire him or later promote him to a higher position. Allina’s

forgoing actions stated earlier in this complaint forced and continue to force Plaintiff

into a position where if he is asked about his employment with Allina would have to

answer questions about specific false accusations against him by Allina. The listener

might believe Allina’s false accusations which would be highly damaging to him.

        342. Subsequent to leaving Allina Plaintiff was damaged by having to take

a job at a lower rate of pay. Further, the job he took has less potential for

advancement.

        343. The foregoing acts by Allina were the direct and proximate cause of damage to

Plaintiff.


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      344. Plaintiff was damaged in excess of $75,000.

      WHEREFORE, Plaintiff prays for the judgment of this Court awarding him

the following relief.

      A.     Awarding judgment against Defendant in excess of $75,000 for

             discrimination based on race.

      B.     Awarding judgment against Defendant in excess of $75, 000.00 for

             discrimination based on color.

      C.     Awarding judgment against Defendant in excess of $75,000 for

             discrimination based on national origin.

      D.     Awarding judgment against Defendant in excess of $75,000 for

             discrimination based on race in violation of Minnesota law.

      E.     Awarding judgment against Defendant in excess of $75,000 for

             discrimination based on color in violation of Minnesota law.

      F.     Awarding judgment against Defendant in excess of $75,000 for

             discrimination based on national origin in violation of Minnesota law.

      G.     Awarding judgment against Defendant in excess of $75,000 for

             wrongful interference with economic advantage.

      H.     For such other and further relief which to the Court seems just and

             equitable.

                          DEMAND FOR JURY TRIAL

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      Plaintiff demands a jury trial on all issues trial by jury.

Dated: May 13, 2021                            Neff Law Firm, P.A.

                                               /s/Fred L. Neff
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                                               Email: info@neff-law-firm.com

                                               Attorney for Fielding

                                  Acknowledgment

      The undersigned hereby acknowledges that pursuant to Fed.R.Civ.P. Rule 11

and Minn. Stat. §549.211, the Court may impose sanctions if it finds a violation of

these sections.

Dated: May 13, 2021                            Neff Law Firm, P.A.

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